                    ~3N►M,~J~~1~  ~~~w.b~,i~.
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                                                                          ;~, C,
                   LYNN GAVIN                                    -  ~, ~; "~~~~  ~ ~ .b              FILED
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               5

                                               UNITED STATES DISTRICT COURT
               6
 .
~                                              CENTRAL DISTRICT OF CALIFORNIA

           s

           9
                   BAMIDELE HAMBOLU; individually;             ) Case No.:                                           j
          io                            • individually; LYNN`~~~         ~   ~„ ,  ~                         (~' ~ ~(
                   GAVIN; individually; AND ALL OTHERS           ~~        ~       ~                         N`~     ~
          ii       SIMILARLY-SITUATED;                         )       /~ 6 ~~`~ ~ ~J ~
                                                                      L.
          is
                                                                        FEDERAL DEBT COLLECTION
          13                     Plaintiffs,
          14
                                                                        PRACTICES ACT 15 U.S.C. § 1692 et seq
                         VS.
              FORTRESS INVESTMENT GROUP;
          15
              LAURENCE GLUCK; STELLAR
          16  MANAGEMENT; SETH MALLEN;                                   JURY TRIAL DEMANDED
              BERNARD POLACCI; PARKMERCED
          i~ INVESTORS PROPERTIES, LLC; ROBERT

          18
              A. ROSANIA; FCOF PM EQ, LLC;
              FORTRESS CREDIT CORPORATION;
          19  AMERICAN UTILITY MANAGEMENT;
              PRINCIPALS; BOND HOLDERS;
          a o SHAREHOLDERS; in
                                      individually and
          ai  official capacity, and Does 1-10 et al.
                               Defendants.
          Za

          23

          24


          25

          26

          27


          28




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           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
 i          ON BEHALF OF NAMED PLAINTIFFS AND OTHERS SIMILARLY-SITUATED
 2                                           L~
              Plaintiffs Bamidele Hambolu,Ib~~rrr~i,Lynn Gavin ("the Named Plaintiffs"),
 3
      for themselves individually and on behalf of others similarly situated unnamed Plaintiffs
 4

 5   (collectively,"the Plaintiffs"), for their Complaint against Defendants American Utility

 6    Management(AUM),Parkmerced Investors Properties, LLC investors and/ or its principals,
 7
      Fortress Investment Group, FCOF PM EQ,LLC, Fortress Credit Corp., Stellar Management,
 s
      Laurence Gluck,("the Defendants") seeking declaratory and injunctive relief and statutory
 9
      damages, hereby allege on the basis of their personal knowledge and information and belief as
io

ii    follows.

is
                                        NATURE OF THIS ACTION
13            1.     This is an action for declaratory and injuctive relief and statutory damages,
14
      as its foundation a pattern of wrongful conduct on the part of the Defendants, pursuant to which
15
      hundreds, if not thousands, of Verified Complaints for Possession of Real Property have been
16

      filed in the Superior Court of California on behalf of Defendants which contain affirmatively
i~

is    false information with respect to the status of Plaintiffs' protected rights as consumers. These

19    misrepresentations are intended to mislead, and/or have the effect of misleading, Plaintiffs of
Zo
      Plaintiffs rights in violation of applicable provisions of the Federal Fair Debt Collection
zi
      Practices Act, 15 U.S.C. §§ 1692 et seq.,("FDCPA")and the U. S. Dept. of Housing and Urban
2z

23
      Development(HUD).

24           2.      An extensive investigation undertaken by the Named Plaintiffs acting on behalf
25
      themselves and others similarly situated reveals that the Defendant Parkmerced tenant attorneys,
26
      with full knowledge ofeasily-discernible facts to the contrary, have — on hundreds of occasions
a~
     (at a minimum)—filed and to the present day continue to file Three Day Notices that violates the
28




                                 GAVIN v. FORTRESS INVESTMENT GROUP- 3
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          provision ofthe FDCPA that prohibit a "debt collector" from making "false or misleading
     i

 2        statements" or using "unfair or unconscionable means" to collect a debt.

 3               3.      An extensive investigation undertaken by the Named Plaintiffs acting on behalf
 4
          themselves and all others similarly situated reveals the Defendant Parkmerced attorneys, with
 5
          full knowledge ofeasily-discernible facts to the contrary, have — on hundreds of occasions (at a
 6

          minimum)—filed and to the present day continue to file Complaints in the Superior Court("SC'

 B        Housing Branch Department 501 which falsely characterize the Plaintiffs, federally subsidized

 9        housing vouchers as to which eviction and repossession is sought by the Defendants' Parkmerced
io
          attorneys, and to avoid disclosure of special defenses that must be considered in cases in which a
ii
         resident of subsidized housing is subject to a claim for eviction, violates the provision of the
is

13       FDCPA that prohibit a "debt collector" from making "false or misleading statements" or using

14       ~ "unfair or unconscionable means" to collect a debt.
15
                 4.     The Defendant American Utility Management are third party billing service, debt
16
         collectors who conduct business in the State of California. They focus on collecting consumer
i~
         debt on behalf of their client Parkmerced (i.e.,) Parkmerced Investors Properties, LLC.
is

19               5.     This case concerns Parkmerced's practice of having security guards who ride

20       Segway Hoverboard vehicles to place unsigned dunning letters (Notices) on Defendants'
21
         Parkmerced tenant attorney's letterhead.
as
                6.      The dunning letters (Notices) are placed inside a plastic sleeve and placed onto
23

         tenants' door knob by security guards who ride on Segways. This is a violation of the false
24

25       representation or implication that any individual is an attorney or that any communication is

26       from an attorney under 15 U.S.C. § 1692e(B)(3).
2~

28




                                    GAVIN v. FORTRESS INVESTMENT GROUP- 4
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                   7.      Notices placed on tenants' door knob by security guards is a violation of state la
     i

     a    that requires a pay or quit notice to be mailed or personally served on the tenant under, Cal. Civ

     3    Proc. § 1161 et se9•
 4
                   8.     The Named Plaintiffs allege Defendant Parkmerced are also in violation of Cal.
 5
          Civ. Code § 1788.15 et seq•,"no debt collector shall collect or attempt to collect a consumer del
 6

          by means ofjudicial proceedings when the debt collector knows that service of process, where

 s        essential to jurisdiction over the debtor or his property, has not been legally effected."

 9
                   9.     The Named Plaintiffs allege Defendant Parkmerced's improper service of dunnin
io
          letters violate state law under Cal. Civ. Code § 1788.16 et sue., "It is unlawful, with respect to
ii
          attempted collection of a consumer debt, for a debt collector, creditor, or an attorney, to send a
is

13
          communication which simulates legal or judicial process or which gives the appearance of being

14        authorized, issued or approved by governmental agency or attorney when it is not. Any violation
15
          ofthe provisions ofthis section is a misdemeanor punishable by imprisonment in the county jail
16
          not exceed six months, or by a fine not exceeding two thousand five hundred dollars ($2,500) or
i~
          both."
18

19                 10.    The Named Plaintiffs allege to disguise the true origin of the dunning letter,

Zo        letters are printed on Defendant Parkmerced's tenant attorney's letterhead and are unsigned.
21
          Signatures on the notices are digitally affixed by Parkmerced employees before the dunning
2z
          letters ("Notices") are given to the security guards to place on tenants' door knob.
23

                   1 1.   In the past five years Defendant Parkmerced tenant attorneys violated and
24

25        continues to violate the requirements ofthe Rosenthal Fair Debt Collection Practices Act

26       (RFDCPA)Cal. Civ. Code § 1788 et sue., and Fair Debt Collections Practices Act("FDCPA"),
a~

28




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      15 U.S.C. § 1692 et sue., by sending Notices directly to tenants without identifying itself as a
 1
 a   debt collector.

 3           12.       In the past five years Defendant AUM violated and continues to violate the
 4
     requirements ofthe Rosenthal Fair Debt Collection Practices Act(RFDCPA)Cal. Civ. Code §
 5
     1788 et sue., and Fair Debt Collections Practices Act("FDCPA"), 15 U.S.C. § 1692 et sue., by
 6

     sending Notices directly to tenants without identifying itself as a debt collector.

 s           13.       Each month Defendant AUM mails billing statements that are a collection notices
 9   for(water, sewer and garbage) without identifying itself as a debt collector to residential tenants.
io
             14.       Over 700 of these notices were issued culminating in the evictions ofsome
ii
     tenants by the Defendant Parkmerced. The Named Plaintiffs were wrongfully evicted from their
is
13
     home with a deceptive notice for usurious utility fees for (water, sewer and garbage) by the

14   Defendants Parkmerced attorneys in a dispute over usurious utility fees.
15
             15.    The Named Plaintiffs allege in combination and collusion Defendant Parkmerced j
16
     employees intentionally designs the pay or quit letters so that they appear to come directly from
i~
     the office of Defendant Parkmerced's landlord tenant attorney to avoid paying postage by having
is
19   the notices delivered by security guards. This is fraud in violation of Cal. Civ. Code § 1572.

20           16.    Defendant Parkmerced Investors Properties, LLC landlord attorneys files these
21
     notices that are signed or unsiged with the San Francisco Rent Board. See Exhibits 3, 4, and 7.
22
             17.    Plaintiffs are, and at all times mentioned herein were, individuals who are citizens
23

24
     and residents ofthe State of California.

25          18.     Each ofthe Plaintiffs is a consumer within the meaning of the FDCPA, 15 U.S.C.

26   § 1692a(5), because each allegedly accrued overdue rent for their primary residence, which is a
a~
     debt for personal, family or household purposes.
Zs



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             19.    Each ofthe Plaintiffs is a consumer within the meaning ofthe FDCPA, 15 U.S.C.
 i

 a   § 1692a(5), because each allegedly accrued overdue utility fees (water, sewer and garbage) for

 3   their primary residence, which is a debt for personal, family or household purposes.
 4
            20.     Plaintiffs are informed and believes, and thereon alleges Defendants have a polic}
 5
     and practice of using false and misleading practices for the purposes of collecting debts.
 6

            21.     Defendants employees and agents are directed, trained and instructed to, and do,

 s   regularly employ these methods.

 9
            22.     Defendant AUM uses an instrumentality of interstate commerce or the mails in a
to
     business the principal purpose of which is the collection of debts, or who regularly collect or
ii
     attempt to collect, directly or indirectly, debts owed or due or asserted to owed or due another
is

13
     and are therefore "debt collectors" as the phrase is defined by 15 U.S.C. § 1692a(6).

14                                     I.      JURISDICTION
15
            23.     Jurisdiction of this action is vested in this Court pursuant to 15 U.S.C. § 1692k(d)
16
     and 28 U.S.C. §§2201, 2202, and Rules 57 and 65 ofthe Federal Rules of Civil Procedure. This
i~

is   Court has supplemental jurisdiction under 28 U.S.C. § 1367.

19          24.     This action arises out of Defendant's violations of the following:(i) the Rosenthal
20
     Fair Debt Collection Practices Act, Cal. Civ. Code §§ 1788-1788.32("RFDCPA"); and,(ii) the
21
     Fair Debt Collection Practices Act("FDCPA"), 15 U.S.C. §§ 1692-1692(p).
a2

23                                           II.     VENUE
24          25.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), because the
25   Defendants reside and/or transact business in this jurisdiction because Defendants do business
26   within the State of California and the County of Los Angeles.
27

28




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                                            III.   PARTIES
             A.     Named Plaintiffs
 2

 3           26.    Plaintiff Bamidele Hambolu mailing address is 1920 Ocean Ave, Apt 2E, San

 4   Francisco, CA 94127.
                                 L Cr
 5
             27.    Plaintiff                 mailing address is 1920 Ocean Ave, Apt 2E, San
 6
     Francisco, CA 94127.

 s           28.    Plaintiff Lynn Gavin mailing address is 1920 Ocean Ave, Apt 2E, San Francisco,

 9   CA 94127.

10
             B.     Defendants
ii
             29.    Defendant Fortress Investment Group hereinafter ("Defendant Parkmerced")
iz
     corporate address is: Attn: Ian Schnider, Branch Manager, 10250 Constellation Blvd, Suite
13

14
     1600, Los Angeles, CA 90067. Defendant is an investor in Parkmerced Investors Properties,

15   I,LC.

16
             30.    Defendant Parkmerced Investors Properties, LLC hereinafter ("Defendant
i~
     Parkmerced")is located at 3711-Nineteenth Avenue, San Francisco, CA 94132. Agent for
le
     service is: The Corporation Trust Company, Corporation Trust, 1209 Orange Street,
19

Zo   Wilmington, DE 19801.

21           31.    Defendant Seth Mallen hereafter ("Defendant Parkmerced") work address is
22
     located at 3711-Nineteenth Avenue, San Francisco, CA 94132. Agent for service is: The
23
     Corporation Trust Company, Corporation Trust, 1209 Orange Street, Wilmington, DE 19801.
24

     Defendant is a principal and / or investor in Parkmerced Investors Properties, LLC.
25

26           32.   Defendant Bernard Polacci hereafter ("Principal") home address is 627 Foothill

27   Drive, Pacifica, CA, 94044. Defendant is a principal in Parkmerced Properties, LLC.
zs



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                 33.     Defendant Stellar Management hereinafter ("Defendant Parkmerced") corporate
     i

     a    address is 156 William Street 10th Floor, New York, NY 10105. Defendant is an investor in

 3       Parkmerced Properties, LLC.
 4
                 34.     Defendant Laurence Gluck hereinafter ("Defendant Parkmerced") work address
 5
         is: Stellar Management corporate address is 156 William Street 10th Floor, New York, NY
 6

         10105. Defendant Stellar Management is an investor in Parkmerced Properties, LLC.

 s               35.    Defendant FCOF PM EQ,LLC hereinafter("Defendant Parkmerced") corporate

 9       address is: Attn: Constantine M. Dakolias, 1345 Avenue ofthe Americas 46th Floor, New York,
io
         NY 10105. Defendant is an investor in Parkmerced Investors Properties, LLC.
ii
                 36.    Defendant Fortress Credit Corporation hereinafter ("Defendant Parkmerced")
IZ

13       corporate address is: Attn: Constantine M. Dakolias, 1345 Avenue ofthe Americas 46th Floor,

14       New York, NY 10105. Defendant Fortress Credit Corporation is an investor in Parkmerced
15
         Investors Properties, LLC.
16
                37.     Defendant Robert A. Rosania hereafter ("Defendant Parkmerced") address is:
i~
         575 Florida Street Suite 150, San Francisco, CA 94110. Defendant is a ("Principal") in
is
19       Parkmerced Investors Properties, LLC.

20              38.     Defendant American Utility Management hereinafter("AUM")corporate
ai
         address is located at 333 Butterfield RD 3rd Floor, Lombard, IL 60148. Defendant Agent for
a2
         Service in the State of California is: Lawyers Incorporating Service, 2710 Gateway Oaks
23

         Drive, Ste 150N, Sacramento, CA 95833. Defendant("AUM")is a third-party utility billing
24

25       service company.

26
                39.     Defendant American Utility Management("AUM"),focus all or a substantial
a~
         portion oftheir billing services on the representation of commercial and residential landlords.
28




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          Defendant AUM is has a contract with Defendant Parkmerced to collect of utility fees. The
     i

 z        billing amount for the utilities from a master meter and the amount charged is provided by

 3        Parkmerced, thus Defendant AUM is a "debt collector" within the scope and contemplation of
 4
          the FDCPA, 15 U.S.C. §1692a(6).
 5
                 40.     The Named Plaintiffs do not know the true names of Defendants Does 1-100
 6

          inclusive, and therefore sues them by those fictitious names.

 e               41.     The Named Plaintiffs do not at this time know the true names or capacities of

 9        said Defendants, but pray that the same maybe alleged herein when ascertained.
io
                 42.     At all times herein mentioned each Defendant was an agent, servant, or employee.
ii
                 43.     Whenever referenced is made in this Complaint to any act of"Defendants" each
is

13       such allegation shall mean that each defendant acted both individually and jointly with other

14       defendants.
15
                 44.     Actions taken, or omissions made, by Defendants' employees or agents in course
16
         of their employment or agency are considered to be actions or omission of Defendants for the
i~
         purposes ofthis Complaint.
is

19              45.     Whenever reference is made in this Complaint to any act or omission of by

zo       "Defendants" such allegation shall mean that each Defendant did or authorized or permitted the
zi
         act or omission, or recklessly and carelessly failed to supervise, control or direct other persons
as
         who engaged in the act or omission.
23

                46.     Pro se litigants' Court submissions are to be construed liberally and held to less
24

25       stringent standards than submissions oflawyers. If the court can reasonable read the

26       submissions, it should do so despite failure to cite proper legal authority, confusion oflegal
2~
         theories, poor syntax and sentence construction, or litigant's unfamiliarity with rule
28




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          requirements. See Wright v. Szczur No. cv-11-1405 (W.D.N.Y. Jan 28, 2012); Haines v.
     i

     2   Kerner, 404 U.S. 519, 520, 92 S.Ct. 594, 596, 30 L. Ed. 2d 652(1972); Burgos v. Hopkins, 14

     3   F.3d 787, 790(2d Cir. 1994).
     4
                 47.     This Complaint is bought on behalf of Named Plaintiffs and others similarly
 5
         situated under unfair business practices Cal. Bus. Prof Code § 17200 and continuous accrual to
 6

         wrongful conduct. The("Aryeh") decision to permit equitable exceptions to accrual under the

 a       UCL (including the discovery rule), suggest that each of the common law exceptions to the rules

 9       of accrual may apply to the UCL's statute oflimitations. The five equitable exceptions to this
io
         rule either delay the moment of accrual of toll the clock after it has already started to run:
ii
                (1) The continuous accrual exception (which was applied in Aryeh) holds that each
is

13       wrong or injury in a series triggers its own limitations period, such that only those occurring

14       more than four years prior to the complaint are time-barred.
15
               (2) The equitable tolling exception extends the statute of limitations when a plaintiff
16
         pursues one of many possible remedies in good faith.
i~
               (3) The fraudulent concealment exception extends the clock when a defendant's
is

19       deceptive conduct causes the time on a claim to expire.

Zo             (4) The continuing violation exception aggregates a series of wrongs and applies a single
21
         limitations period beginning after commission ofthe last wrong suffered.
as
               (5) The delayed discovery exception postpones accrual ofthe limitations period until the
23

         plaintiff discovers, or has reason to discover, the cause of action. See Aryeh v. Canon Business
24

25       Solutions, Inc., No. S 184929 55 Ca. 4th 1185 (2013)(common law rule of continuous accrual

26       applied to claim for violation of Unfair Competition Law). See also Checo v. Shinseki WL
a~
         16138885 (Fed. Cir. Apr. 23, 2014);
as



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                      "The injured part may bring an action based on fraud or mistake more than than 3
 i

 z           years after the transaction if the party is able to show that he or she did not

 3           discover the facts, and could not with reasonable diligence have discovered them,
 4
             prior to 3 years before the action.(Witkin, Cal. Proc. 5Th (2008)Plead § 929, p.
 5
             344.")
 6

             48.      The Named Plaintiffs have made numerous attempts to redress violations under

 s   the United States Constitution, federal and state laws plead the following in this Complaint:

 9
                   (2) The equitable tolling exception extends the statute oflimitations when a
io
     plaintiff pursues one of many possible remedies in good faith.
ii
                   (3) The fraudulent concealment exception extends the clock when a defendant's
IZ

13
     deceptive conduct causes the time on a claim to expire.

14                 (5) The delayed discovery exception postpones accrual of the limitations period
15
     until the plaintiff discovers, or has reason to discover, the cause of action.
16
     Legal Violations
i~
            49.       This suit is based on defective notices sent to Plaintiffs on behalf of Defendant
is
19   Parkmerced tenants. Defendant AUM is a party in the collection of usurious utility fees under a

ao   contract with Defendant Parkmerced. Defendant AUM is attempting to collect debts on behalf
ai
     of another as defined by 15 U.S.C. 1692a(6). By so doing Defendant AUM initiates multiple
22
     legal obligations under the FDCPA,each of which Defendant AUM fails to meet. Through their
23

     deceptive notices, Defendant AUM deprives Plaintiffs of notice of their right to dispute usurious
24

25   utility fees and hampers their ability to challenge eviction proceedings that allow procedural due

26   process and debt collection efforts.
a~

28




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             50.    Defendant AUM uses an instrumentality ofinterstate commerce or the mails in a
 i
 z   business the principal purpose of which is the collection of debts, who regularly collect or

 3   attempt to collect, directly or indirectly, debts owed or due or asserted to be owed or due another
 4
     and are therefore "debt collectors" as that phrase is defined by 15 U.S.C. § 1692a(6).
 5
            51.     The Named Plaintiffs and all others similarly situated are natural people from whc
 6

     a debt collector sought to collect a consumer debt which was due and owing or alleged to be due

 s   and owing from Plaintiffs, and Plaintiffs are "consumers" as that term is defined by 15 U.S.C. §

 9   1692a(3).
io
            52.     This practice goes beyond a simple technical violation ofthe law. It has real
ii
     consequences culminating in the loss of housing, homelessness, ruins Plaintiffs' credit, student
is
13
     loans and potential employment opportunities.

14          53.     Unless otherwise indicated, the use of any Defendant's name in this Complaint
15
     includes all agents, employees, officers, members, directors, heirs, successors, assigns,
16
     principals, trustees, sureties, subrogees, representatives, and insures of that Defendant named.
i~
                                         IV.     ALLEGATIONS
18

19          A.      Usurious Utility Fees

20          54.     Sometime before the filing ofthis Complaint, Named Plaintiffs have incurred
21
     certain financial obligations to Defendant Parkmerced who outsource their utility billing to
22
     Defendant American Utility Management(hereafter AUM).
23

24
            55.     The financial obligations was primarily for personal, family or household

25   purposes and are therefore a "debt' as that term is defined by 15 U.S.C. § 1692a(5).

26          56.     The Named Plaintiffs allege Defendant Parkmerced violate subsidized Plaintiffs
a~
     rights under 24 C.F.R. § 983.353 of the Housing Assistance Payment("HAP")contract: The
Zs



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      owner may not demand or accept any rent payment from the tenant in excess ofthe tenant rent as
 i

 2    determined by the PHA. The owner must immediately return any excess payment to the tenant.

 3    Plaintiffs allege utility fees are an illegal rent increase under 24 C.F.R. § 983.353. See Ex 5 fees
 4
      associated with AUM.
 5
             57.     The Named Plaintiffs allege Defendant Parkmerced breach Plaintiffs HUD
 6

      Tenancy Addendum Section 6 Other Fees and Charges (c): "The owner may not charge the

 s    tenant extra amounts for items customarily included in rent to owner in the locality, or provided

 9
      at no additional cost to unsubsidized tenants in the premises." Not all residents at Parkmerced
io
      pay for utility fees (water, sewer and garbage) and open space.
ii
             58.     The Named Plaintiffs allege Defendant AUM'S administration, late and/ or fees
is

13
     are an illegal rent increase in violation ofPlaintiffs rights under HUD Tenancy Addendum

14   ~ Section 6 Other Fees and Charges (c).
15
             59.     The Brooke Amendment to the United States Housing Act, 42 U.S.C. §§1437a(a),
16
      1437(0)(2) —specifying that subsidized tenants may only pay thirty percent(30%)of their
i~
     income as "rent" -prevents Parkmerced from converting other fees to "rent." The HAP contract
16

19   requires strict compliance with the rent set by the PHA. See 24 C.F.R. § 966.4(1)(3).

Zo           60.     October 2011, Defendant AUM responds to Plaintiffs' letter past 30 days
21
     requesting an explanation of how the utility fees are calculated. Plaintiffs allege this is a
2z
     violation of Plaintiffs rights under 15 U.S.C. § 1692g.
23

             61.     Named Plaintiffs allege Defendant AUM does not explain in the manner of the
24

25   "least sophisticated consumer" can comprehend the billing methodology used by Defendants to

26   determine amount of utility usage as defined under the FDCPA.
a~

28




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                 61.    On September 19, 2011 Named Plaintiffs receive a second Three Day Notice
     i

     a   from Defendant Parkmerceds'tenant attorney for usurious utility fees in arrears. The second

 3       Three Day Notice has a different amount from the first notice. See Exhibits 3 & 4
 4
                 62.    On August 24, 2011 Defendant Parkmerced has security guards riding on a
 5
         Segway hoverboard to place 3-day notices contained inside a clear plastic sleeve on front door
 6

         knob ofPlaintiffs home in an attempt to collect the alleged debt in violation of C.C.P 1161.

 s              63.     The Named Plaintiffs write Defendant AUM for an explanation of how utility

 9       are calculated. Defendant AUM does not explain the billing used to the least sophisticated
io
         consumers-tenant would be able to comprehend the billing methodology. See Ex 2
ii
                64.     These notices on Plaintiffs' doorknob, readily viewable by the public, were
iz

13       intended both to be seen by other people and also to embarrass Plaintiffs. Such conduct

14       constitutes a violation of 15 U.S.C. § 1692d; 1692e(5); and 1692e(10). This section ofthe
15
         FDCPA is incorporated into the RFDCPA through Cal. Civ. Code § 1788.12(d); thus, Defendant
16
         Parkmerced has also violated Cal. Civ. Code § 1788.17.
i~
                65.     Defendant AUM bills Plaintiffs on a monthly basis and charges tenants more than
is

19       the utility companies in the area where Plaintiffs reside. Defendant AUM fees exceed ATM fees

ao       See Ex 6 "Cease and Desist Letter" from City Attorney Myers
ai
                66.     Defendant AUM receives its information on how much to charge Plaintiffs from
a2
         Defendant Parkmerced. Thus, Defendant AUM'S false and deceptive means utilized to collect
23

         the alleged debt from Plaintiffs constitute a violation of 15 U.S.C.§ 1692e(10). This section of
24

25       the FDCPA is incorporated into the Rosenthal Fair Debt Collection Practices Act(RFDCPA)

26       through Cal. Civ. Code § 1788.17. Thus Defendants violate the RFDCPA through Cal. Civ.
a~
         Code § 1788.17.
2a



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             67.     Defendant Parkmerced initiate eviction proceedings against Named Plaintiffs and
 i
 2   the manner in which the notices were given to Named Plaintiffs are unfair and unconscionable in

 3    violation of 15 U.S.C. § 1692f. This section ofthe FDCPA is incorporated into the RFDCPA
 4
     through Cal. Civ. Code § 1788.15(a).
 5
             68.     Defendant Parkmerced initiate eviction proceedings against Named Plaintiffs in
 6

     violation of HUD Termination Notice Requirements under 24 C.F.R. § 247.4(a-~.

 a           B.      Improver Service of Notices
 9
             69.     The Named Plaintiffs allege Defendant Parkmerced attempt to collect a consume
io
     debt through a judicial proceeding from Defendant Parkmerceds'tenant attorneys notices violate
ii
     Plaintiffs rights under 15 U.S.C. § 1692f unfair practices.
iz
13           70.     Defendant Parkmerced attempt to collect a consumer debt through a judicial

14   proceeding from Defendants' landlord tenant attorneys notices constitute a violation of Cal. Civ.
15
     Code Civ. § 1788.15(a):"No debt collector shall collect or attempt to collect a debt by means of
16
     judicial proceedings when the debt collector knows that service of process, where essential to the
i~
     jurisdiction over the debtor or his property, has not bee legally effected.
is
19           71.    Defendant AUM'S attempt to collect a consumer debt in non disclosure of being a

Zo   debt collector constitute a violation of Plaintiffs rights under 15 U.S.C. § 1692f unfair practices.
21
            72.     Defendant Parkmerced signs a federal Housing Assistance Payment("HAP")
2z
     contract with the local Public Housing Authority("PHA")to comply with federal, and state laws
23

24
     and HUD regulations.

25          73.     HUD regulations require that a Parkmerced comply with all ofthe Notice of
26   Termination requirements under 24 C.F.R. § 247.4 (a-fl.
2~

28




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             74.      HUD regulations require that a Parkmerced provide the local("PHA") with a
 i

 z   notice oftermination oftenancy. Parkmerced Defendant did not provide the local("PHA") with

 3   a tenancy notice of termination for Named Plaintiffs. Thus Parkmerced Defendants violate
 4
     subsidized Plaintiffs rights under 24 C.F.R. § 247.40.
 5
             75.     The California State law requires that Parkmerced's seeking to terminate a
 6

     subsidized tenant's housing lease must provide the tenant with a 90-day notice of termination

 8   under Cal. Civ. Code § 1954.535. Thus Parkmerced Defendants violate Plaintiffs rights under

 9   Cal. Civ. Code § 1954.535.
io
              C.     Subsidized Housing
ii
             76.     Tenants living with HUD subsidized housing vouchers, the stakes in an eviction
is

13   case are much higher. By virtue of their admission into the ongoing eligibility for a subsidized

14   housing progam, public housing and voucher tenants are low-income and vulnerable, depending
15
     on the specifics of the case and the subsidy itself. Once a housing subsidy is lost, few tenants
16
     will ever be able to regain it. The centralized waiting list maintained by the local("PHA")is
i~
     closed with thousands of people on the wait-list.
is

19           D.      Plaintiffs are Members of a Proteced Class

zo           77.     The Named Plaintiffs brings this action on behalf ofthemselves and of all other
21
     similarly situated who are subsidized and / or non-subsidized tenants.
as
             78.     The Named Plaintiffs, represents, all others similarly situated as follows: "All
23

     persons in California who received form notifications from Defendants containing false,
24

25   misleading, and deceptive statements to said persons' on door knobs and/or posted on door.

26          79.      Over 700 Three Day Notices have been issued by Defendant Parkmerced for
a~
     utility fees and/ or delinquent rent.
2a



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             80.     The joinder of all others similarly situated is impractical and the disposition of
 i

 a   their claims in the case will provide substantial benefits both to the parties and to the Court.

 3           E.      The Defendants' Pattern of Wrongful Conduct
 4
             81.     On July 19, 2016 Plaintiff Ibukun Hambolu files a Complaint against Defendant
 5
     AUM in the U.S. District Court Central District of California.
 6

             82.    On November 2013 Plaintiff Bamidele Hambolu files complaint in U.S. Distric

 s   Court Central District of California.

 9
             83.    On August 16, 2012 Assistant City Attorney Amy E. Myers mails a copy of a
io
     cease and desist letter sent Defendant AUM'S client for usurious water billing fees of residents
ii
     Panama City Beach, FL. See Ex 6
is

13          84.     On August 12, 2013 Defendant AUM settles a class action lawsuit in the U.S.

19   District Court Central District of California case (Nekole Rucker v. American Utility
15
     Mana ement,(#2:12-cv-09935-R-PJW).
16
            85.     Northtown Village Limited Partnership d/b/a Northtown Apartments in Minneso
i~
     used Defendant AUM third-party billing services. Northtown Apartments had many subsidized
18

19   tenants with a Housing Choice Voucher.

20          86.     Northtown Village Limited Partnership d/b/a Northtown Apartments was sued b~
ai
     Minnesota Attorney General for violations of Minnesota unfair business practices, that pertains
as
     to master-metered residential building billing practices.
23

            87.     On June 19, 2003 Northtown Village Apartments and the State of Minnesota
24

25   entered into a Consent Judgment where Northtown was fined, and agreed to pay all of the

26   usurious utility fees billed by Defendant AUM and to notify credit authorities and HUD stating
2~
     consumers did not owe any money for utility fees.
as



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             F.         HUD Termination of Tenancy Notices Regulations
 i
 a           88.     HUD handbook regulations 4350 § 8-13 (b)(2)(c)(3), that are to be strictly

 3
     followed for termination oftenancy in accordance with the HAP contract.

                     a)       Notice must state the date the tenancy is terminated;
 4
                     b)       State reasons for the eviction with sufficient specificity to enable the
 5

 6   tenant to prepare a defense;

                     c)       Advise the tenant that if he or she remains in the apartment on the date
 8
     specified for termination, the landlord may seek to enforce the termination only by bringing a
 9
     judicial action;
io
                     d)       Advise the tenant that he or she has ten days in which to discuss the
ii
12   proposed termination oftenancy with the landlord;

13                   e)       Advise that persons with disabilities have the right to request reasonable
14
     accommodations to participate in the hearing process;
15
                     fl       Landlord must also comply with all state requirements;
16
            89.      "No termination is valid unless that Parkmerced has complied with the federal
i~
     notice requirements. See 24 C.F.R. § 247.3(a)(2011); Leake v. Ellicott Redevelopment Phase II,
is

19   470 F. Supp. 600,602(W.D.N.Y. 1979); See also (finding termination notice failed to comply

ao   with the requirements); Timber Ridge v. Caldwell, 672 S.E.2d 735 (N.C. Ct. App. 2009);
al
     Fairview Co. v. Idown, 559 N.Y.S.2d 925, 928-30(N.Y. Civil Ct 1990)(finding termination not
z2
     sufficiently specific). See Exhibit 10 for notice requirements
23

            90.      Defendant Parkmerced 'issuance of Three Day Notices culminating in the
24

25   wrongful eviction of Named Plaintiffs do not comply with HUD tenancy termination

26   requirements.
z~

2s



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             91.    Defendant Parkmerced signed the HAP contract and agreed to comply with all of
 i

 a   HUD's regulations and federal laws to be eligible for Federal financial assistance.

 3          92.     Defendant Parkmerceds' deficient Three Day Notices were issued to subsidized
 4
     tenants who have special defenses in eviction cases. See Ex 9 S.F. Examiner Article
 5
            93.     On December 21, 2016 in a continuum of practices Defendant Parkmerced
 6

     landlord tenant attorney's actions have caused and continues to cause violation tenants rights

 s   under 15 U.S.C. § 1692(c)improper communication (unsigned notices), § 1692(e)(notices are

 9   misleading) § 1692 (fl (notices represent unfair practices). See Exhibits 3,4 and 7
io
            94.     Defendant AUM'S monthly billing statements have caused and continues to
ii
     cause violations of tenants rights 15 U.S.C. § 1692(c)improper commutation(do not state they
is

13   are from a debt collector), § 1692(e)(monthly statements are misleading in utility billing),

14   § 1692(~ (monthly statements represent unfair practices).
15
            95.     In a continuum of pattern and practices Defendants' continue to violate tenants
16
     rights who as consumers are members of a protected class under 15 U.S.C. § 1692 1692p et seq
i~
     and Cal. Civ. Code 1788-1788.32 et seq.
is

19          G.      Plaintiffs

Zo          96.     The Named Plaintiffs seek to represent a tenants issued Three Day Notices for
21
     the recovery of a statutory damages to the extent they have been the subject ofthe Defendants'
2z
     unlawful conduct in violation of the 15 U.S.C. § 1692 FDCPA.
23

            97.     Tenants are consumers of a commodity (i.e., housing) and the FDCA provides a
24

25   variety of protection to consumers-tenants.

26

27

28




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             98.     Although the precise number of notices issued is over 700 it is not currently
 i

 a   known the number of people impacted. In some instances there are roommate situations and

 3   more than one name is on the notice. Upon information and belief, is in the hundreds, if not
 4
     thousands. The issuance of Three Day Notice is so numerous that the joinder of all individual
 5
     class members is impracticable. See Ex 8(number of notices issued)
 6

             99.    The Named Plaintiffs' causes of action and claims for relief against the

 a   Defendants are typical of the causes of action and claims for relief of all others similarly situated.

 9   The conduct on the part of the Defendants to which the named Plaintiffs and all others similarly
io
     situated have been subjected and the relief that the Named Plaintiffs and others similarly situated
ii
     seek as a result are essentially the same. The Named Plaintiffs know of no disputes or conflicts
12

13
     ofinterest among themselves or between any of them and the others similarly situated, and the

14   Named Plaintiffs will fairly and adequately represent and protect the interest of all others
15
     similarly situated.
16
             100.   Questions oflaw and fact common to the named Plaintiffs as a whole
i~
     predominate over any questions affecting only an individual member of the others similarly
is

19   situated. Named Plaintiffs representing all others similarly situated is superior to other available

ao   methods of fairly and efficiently adjudicating this controversy because, among other things this
ai
     action will allow a large number of similarly-situated persons to pursue their claims
22
     simultaneously and efficiently, without the unnecessary duplication oftime, effort, expense and
23

     presentation of evidence that numerous substantially similar individual actions would involve.
24

25   In addition, this mechanism provides the only method by which indigent or low-income persons

26   with comparatively small individual claims can, as a practical matter, seek redress for the
a~
     wrongful acts to which they have been subjected by the Defendants as alleged herein.
28




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                 101.    Defendants, under color of statue, ordinance, regulation, custom, and/or usage,
     i
     a   have subjected, or have caused to be subjected, Plaintiffs to the deprivation of rights, privileges,

 3       or immunities secured by the Constitution and laws —especially rights to due process —and
 9
         therefore Defendants are liable to Plaintiffs pursuant to 42 U.S.C. section 1983.
 5
                                           V.     CAUSES OF ACTION
 6

                                         FIRST CAUSE OF ACTION
                                     (For Declaratory and Injunctive Relief
 s                               With Respect To Violations of 15 U.S.C. ~ 1692e~
 9
                 102.   The Named Plaintiffs reallege and incorporate by reference each and every of the
io
         foregoing paragraphs as iffully set forth herein.
ii
                 103.   Defendant Parkmerced tenant attorneys issues Three Day Notices to pay or quit
is
13
         on behalf of Defendant Parkmerced against Named Plaintiffs and other similarly situated,

14       seeking the repossession of rental properties and the recovery of consumer debt consisting of
15
         usurious utility fees(water, sewer and garbage) and/or back rent allegedly due and owing.
16
                 104.   In bringing these actions, the Defendant Parkmerced attorneys are acting as "debt)
i~
         collectors" subject to the provisions and prohibition of the FDCPA. See 15 U.S.C. § 1692a(6).
is
19              105.    The Named Plaintiffs were subsidized tenants and had special protections against

Zo       eviction procedures under federal regulations that must be strictly followed. See para 88 page 19.
ai
                106.    Defendant Parkmerced 'tenant attorneys nondisclosure of Named Plaintiffs
22
         subsidy status of the rental unit is a false statement and violates 15 U.S.C. § 1692e, e(10), which
23

         provides that "[a] debt collector may not use any false, deceptive or misleading statements in
24

25       connection with the collection of any debt."

26              107.    Defendant AUM nondisclosure of being a debt collector on behalf of their client
a~
         Defendant Parkmerced Investors Properties, LLC is a false statement and violates 15 U.S.C. §
Zs



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      1692e, e(10), which provides that "[a] debt collector may not use any false, deceptive or
 i

 z    misleading statements in connection with the collection of any debt."

 3            WHEREFORE,the Defendants should be immediately enjoined during the pendency of
 4
      this action, and permanently enjoined, upon the final resolution ofthis action in Plaintiffs' favor,
 5
      from misrepresenting the subsidy status oftenants' subsidized rental housing in such written
 6

      submissions filed in Superior Court should state status of subsidized tenants and violation of

 8    consumers rights.

 9
                                      SECOND CAUSE OF ACTION
io                                (For Declaratory and Injunctive Relief
                               With Respect To Violation of 15 U.S.C. § 1692fl
ii
              108.   The Named Plaintiffs reallege and incorporate by reference each and every of the
is

13
      foregoing paragraphs as if fully set forth herein.

14            109.   Defendants have filed hundreds of Three Day Notices to pay or quit, against
15
      Named Plaintiffs and others similarly situated, for recovery of consumer debt consisting of
16
      usurious utility fees for (water, sewer and garbage) and/or back rent. See Ex 8
i~
             1 10.   In bringing these actions, the Defendants are action as "debt collectors" subject to
is

19     ie provisions and prohibitions of the FDCPA. See 15 U.S.C. § 1692a(6).

ao           1 11.   Defendant Parkmerced's nondisclosure concerning the subsidy status of Named
zi
     Plaintiffs and all others similarly situated continues violate under 15 U.S.C. § 1692f, which
as
     provides that "[a] debt collector my not use unfair or unconscionable means to collect or attempt
23

     ~ to collect any debt." See Ex 3, 4, and 7
24

25           WHEREFORE,the Defendants should be immediately enjoined, during the pendency of

26   this action, and permanently, enjoined, upon the final resolution of this action in Plaintiffs' favor,
a~
     from misrepresenting the subsidy statue of tenants and violation of consumer rights.
as



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                                         THIRD CAUSE OF ACTION
 i
                                    (For an Award of Statutory Dama ges for
 a                                 Violation ofthe Provisions of the FDCPA)

 3             1 12.    The Named Plaintiffs reallege and incorporate by reference each and every of the

 9   foregoing paragraphs as if fully set forth herein.
 5
               1 13.    Defendants in combination and collusion with noncompliance with the FDCPA
 6
     was intentional within the meaning of 15 U.S.C. § 1692k as Defendants intended to and did in

 s   fact mail the defective Notices to Plaintiffs.

 9            [A] any debt collector who fails to comply with any provision ofthis title with respect to
10
     any person is liable to such person in an amount equal to the sum of...
ii
                       (1)     any actual damages sustained by such person as a result of such failure;
is
                       (2)(A) in the case of any action by an individual, such additional damages as the
13

14                     court may allow, but not exceeding $1,000; or

15                     (B)     in case ofthe class action,(i) such amount for each named plaintiff as
16
                       could be recovered under subparagraph(A), and
i~
                              (ii) such amount as the court may allow for all other class members,
18

                       without regard to a minimum individual recovery, not to
19

ao                             exceed the lesser of$500,000 or 1 per centum ofthe net worth of

ai                             the debt collector; and
a2
                       (3)     in the case of any successful action to enforce the foregoing
23
     liability, the costs of the action, together with a reasonable attorney's fees as determined by the
24

25
     court.

26            WHEREFORE,upon the final resolution of this action in Plaintiffs favor, establishing
27
     that the Defendants violated 15 U.S.C. § 1692e, 15 U.S.C. § 1692f, or both, the Plaintiffs shall
as



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     entitled to a recovery ofthe statutory damages described in 15 U.S.C. § 1692k(a), as set forth
 i

 2   above.

 3                                   FOURTH CAUSE OF ACTION
                       (Violation ofthe Rosenthal Fair Debt Collection Practices Acts
 4
                            (RFDCPA: Cal. Civ. Code &§ 1788-1788.32 et seg)
 5                                          By All Defendants

 6            1 14.   The Named Plaintiffs reallege and incorporate by reference each and every ofthe
 7
     foregoing paragaphs as if fully set forth herein.
 s
              1 15.   The foregoing acts and omissions constitute numerous and multiple violations of
 9
     the RFDCPA.
io

li            1 16.   As result of each and every violation of the RFDCPA,Plaintiff is entitled to any

is   actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory damages for knowing or
13
     willful violation in the amount up to $1,000 pursuant to Cal. Civ. Code § 1788.30(b); and
14
     reasonable attorney's fees and costs pursuant to § 1788.30(c).
15

              1 17.   The Named Plaintiffs allege Defendants attempt to collect alleged debt through
16

i~   termination notice in violation of HUD Notice Requirements culminating in eviction violates

18   Plaintiffs rights as a unconscionable means to collect a debt under Cal. Civ. Code § 1788.10 (f.).
19
              118.    The Named Plaintiffs allege Defendants attempt to collect alleged debt through
Zo
     improper service of notices in violation of Cal. Civ. Code § 1788.12(d).
21

za            1 19.   The Named Plaintiffs allege Defendants attempts to collect debt when service of

23   process was defective violates Plaintiffs rights under of Cal. Civ. Code § 1788.15(a) from each

24
     Defendant individually.
25

26

27

28




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 1
                                        FIFTH CAUSE OF ACTION
                      (Unfair Competition Law: Cal. Bus Prof Code ~ 17200 et sect)
 z
                                           (All Defendants)
 3
             120.   The Named Plaintiffs reallege and incorporate by reference each and every of the
 4

 5
     foregoing paragraphs as if fully set forth herein.

 6           121.   Pursuant to Business and Profession Code Section 17203, that defendants, their

 7
     successors, agents, representatives, employees, and all persons action in concert or in
 8
     participation with defendants, be permanently enjoined from engaging in unfair competition as
 9
     defined in Business &Professions Code Section 17200, including, but not limited to, the acts anc
io

ii   practices alleged in this Complaint.

12           122.    Defendant Parkmerced's issuance of the Three Day Notices to Named Plaintiffs
13
     and other similarly situated tenants subsidized statues constitute unlawful, fraudulent and/ or
14
     unfair practices that Plaintiffs had 30 days to dispute alleged debt under 15 U.S.C. § 1692g(a)(3).
15
             123.   Pursuant to Defendant Parkmerced nondisclosure of Named Plaintiffs and other
16

i~   members similarly situated tenants subsidized housing vouchers status constitute unlawful,

is   unfair, and/or fraudulent business practices and, thus, unfair competition under Business and
19
     Professions Code § 17200.
ao
            124.    Pursuant to Defendant AUM'S nondisclosure of attempting to collect the allege
ai
     debt on behalf of their client Defendant Parkmerced Investors Properties, LLC constitute
22

23   unlawful, unfair, and/ or fraudulent business practices and, thus, unfair competition under

24
     Business and Professions Code § 17200.
25
             WHEREFORE,the People pray for the following relief;
26

27

28




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                                           SIXTH CAUSE OF ACTION
 i
                                        (Fraud: Cal. Civ. Code ~ 1572 et sect)
 a                                              Against All Defendants
 3            125.      The Named Plaintiffs reallege and incorporate by reference each and every ofthe
 4
     foregoing paragaphs as if fully set forth herein.
 5
              126.     Defendant Parkmerceds' Three Day Notices are fraudulent and deceitful in that
 6

     the least sophisticated person can not comprehend the billing methodology used under 15 U.S.C.

 s   § 1692g(a)(3).

 9
              127.     Plaintiffs allege Defendant Parkmerced violates Plaintiffs rights under HUD
io
     Tenancy Addendum Section 8(g) Owner Notice of Grounds (2): "The owner must give the PHA
ii
     a copy of any owner eviction notice at the same time the owner notifies the tenant." ("fraudulent
lz
13
     concealment")

14            128.     Plaintiffs allege Defendant Parkmerced failure to provide a copy ofthe notice to
15
     the PHA is grounds for dismissal ofthe eviction suit. See Lamlon Develop. Corp. v. Owens, 533
16
     N.Y.S.2d 186, 189-191 (N.Y. Dist. Ct. 1988); Santouse v. Scott, HDSP137470,2006 Conn.
i~
     Super. LEXIS 1660(Conn. Super. Ct. June 2, 2006) because the PHA is not involved in the
is
19   eviction procedure, no state or government action is present. See Owner Termination of

ao   Tenancy 24 C.F.R. § 982.310 (2)(e)(2)(ii)(2011)~.
ai
              129.     Plaintiffs allege Defendant Parkmerced Three Day Notices are in violation of
z2
     Federal law and HUD handbook regulations 4350 § 8-13 (b)(2)(c)(3), that are to be strictly
23

     followed for termination of tenancy. See Exhibits 3,4 and 7
24

25           HUD Termination Notice Requirements:

26

27
     1 24 C.F.R. § 982.310 (2)(e)(2)(ii) Owner Termination of Tenancy: The owner must give the PHA a copy of any
28
        eviction notice given to the tenant.


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_    1                  a)       Notice must state the date the tenancy is terminated;
                        b)       State reasons for the eviction with sufficient specificity to enable the
     a
         tenant to prepare a defense;
     3
                        c)       Advise the tenant that if he or she remains in the apartment on the date
     4
         specified for termination, the landlord may seek to enforce the termination only by bringing a
     5
         judicial action;
     6                  d)       Advise the tenant that he or she has ten days in which to discuss the
         proposed termination of tenancy with the landlord;
     8                      e)   Advise that persons with disabilities have the right to request reasonable

     9   accommodations to participate in the hearing process;

    io                  fl       Landlord must also comply with all state requirements;
                 130.   "No termination is valid unless that landlord has complied with the federal notice
    ii
    iz   requirements. See 24 C.F.R. § 247.3(x)(2011); Leake v. Elliott Redevelopment Phase II, 470 F.

    13   Supp. 600,602(W.D.N.Y. 1979);(finding termination notice failed to comply with the
    14
         requirements); Timber Ridge v. Caldwell, 672 S.E.2d 735(N.C. ct. App. 2009); Fairview Co. v.
    15
          down,559 N.Y.S.2d 925, 928-30(N.Y. Civil Ct 1990)(finding termination not sufficiently
    16

    i~   specific).

    18           131.   Defendant Parkmerced's unlawful, unfair and fraudulent business act or practice

    19
         included a pattern of violations under 24 C.F.R. § 247.4(a-~. Defendant Landlords failed to
    Zo
         comply with HUD Requisites of Termination Notice that are to be strictly followed under the
    21
         Housing Assistance Payment(HAP)contract signed by Defendant Parkmerced.
    2z

    23          132.    Defendant Parkmerced's unlawful, unfair and fraudulent business act or practice

    24   includes a pattern of violations under state law, Cal. Civ. Code § 1954.535. Defendant
    25
         Parkmerced failed to comply with California state law that requires subsidized tenants are given
    26
         a 90-Day Notice of tenancy termination when the landlord is seeking to terminate the subsidized
    a~

    28




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      contract with the government. Defendant Parkmerceds' 3-Day notices are in violation of
 1

 a   California State law § 1954.535.

 3           133.    As a direct and proximate result of Defendant Parkmerced's unlawful conduct
 4
     described, the Named Plaintiffs have suffered actual injury and economic loss in the form of all
 5
     of Plaintiffs personal property, subsidized Housing Choice Voucher and a rent control unit in the
 6

     City and County of San Francisco.

 8           134.    Plaintiffs request the Court order that Defendant Parkmerced Investors Properties,

 9   LLC., be required to disgorge all profits they have wrongfully obtained through the use ofthese
io
     unlawful practices, and provide restitution.
ii
             WHEREFORE,Plaintiffs pray judgment as set forth below.
is

13                               SEVENTH CAUSE OF ACTION
              (Damages for Fraudulent Concealment and Deceit: Cal. Civ. Code § 1572(5))
14                                   (Against All Defendants ~
15
             135.    The Named Plaintiffs reallege and incorporate by reference each and every of the
16

     foregoing paragraphs as if fully set forth herein.
i~

is           A.      Defendants had a duty to disclose material facts to Plaintiffs

19           136.     Defendant Parkmerced had a duty to disclose to Plaintiffs were entitled to
ao
     procedural due process rights in accordance to the HAP contract under 24 C.F.R. § 247.4(a-~
zi
     prior to any judicial action filed in court. The Named Plaintiffs allege Defendants intentionally
2a

23
     concealed true facts with intent to defraud Plaintiffs if there is no compliance with federal

24   regulations.
25
             137.    Plaintiffs allege Defendant Parkmerced knew that its representations at the time
26
     judicial filing of Plaintiffs unlawful detainer action were false.
a~
             B.      Defendants conceal material facts
as



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              138.   Plaintiffs allege Defendant AUM conceal the fact Defendant AUM is a debt
 i

 2    collector.

 3            139.   Defendant AUM conceal the facts Plaintiffs had 30-days to dispute usurious
 4
      utility fees under 15 U.S.C. § 1692g(a)(3) ofthe Fair Debt Collections Practices Act.
 5
             140. The Defendants intentionally concealed the facts and information from Plaintiffs
 6

      about consumer rights under the Fair Debt Collection Practices Act 15 U.S.C. § 1692 et seq.

 8           C.      Plaintiffs allege Defendant AUM intentionally concealed true facts with intent to

 9
      defraud Plaintiffs oftheir rights under the 1692e FDCPA.
to
             141.    The Named Plaintiffs allege all Defendants intended to induce reliance on the par
ii
      of each Plaintiff on representations Defendants legal actions from the perspective of the "least
iz

13
      sophisticated consumer," pertaining to the validity ofthe debt from the 3-day notices under 15

14    U.S.C. § 1692g(a)(3).
15
             142.    The Named Plaintiffs allege Defendants intentionally concealed true facts with
16
     intent to defraud Plaintiffs if there is no compliance with federal regulations.
i~
             143.    Defendant Parkmerced did not disclose to the Named Plaintiffs their townhome
18

19   apartment would be demolished pending approval of Defendant's development agreement.

Zo           144.    Said Defendants, and each ofthem, had knowledge ofthe true facts as set forth
21
     above and deliberately concealed and failed to disclose said facts to Plaintiffs.
za
             145.    The Named Plaintiffs were unaware of the facts and would have acted if the facts
23

     ~ were disclosed about Plaintiffs rights under the Fourteenth Amendment to the U.S. Constitution.
24

25           146.    Plaintiffs have been damaged as a result of concealment in a wrongful eviction by

26   all Defendants actions.
a~
             147.    Defendants had knowledge of the true facts. The intentional misrepresentations
as



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     described above were made by all Defendants with the intent to violate Plaintiffs due process
 i
 2   rights and to take other acts described herein, ultimately causing the eviction of Plaintiffs from

 3   their home.
 4
             148.    Plaintiffs, at the time of Defendants' misrepresentations and failure to disclose
 5
     true facts, and at the time Plaintiffs took the actions alleged herein, were ignorant of the
 6

     existence of those facts that said Defendants, and each ofthem, suppressed and failed to disclose.

 s           149.    Had Plaintiffs known the true facts, they would have attempted to advocate for
 9   Plaintiffs constitutional rights. Plaintiffs' reliance was justified in that Plaintiffs are lay people
io
     who were misled by false misrepresentations and even after reasonable inquiry did not have
ii
     knowledge ofthose facts that were suppressed.
la
13
             150.    As a proximate result of the misrepresentations and the failure to disclose the true

14   facts, Plaintiffs have been damaged in that through evictions they loss Named Plaintiffs personal
15
     property, Housing Choice Voucher, rent controlled housing harm reported on credit report. The
16
     exact amount by which Plaintiffs and all others similarly situated have been damaged is
i~
     unknown at this time, but it is at least the difference between what Plaintiffs paid for the units
is
19   and its true value, or other damages, according to proof at trial.

20                               EIGHTH CAUSE OF ACTION
                (Damages for Conspiracy to Commit Fraud by Concealment and Deceit
21

2z           151.   The Named Plaintiffs reallege and incorporate by reference each and every ofthe

23   foregoing paragraphs as if fully set forth herein.
24
             152.   Plaintiffs alleges Defendant Parkmerced non disclosure that all Plaintiffs pay a
25
     percentage of non paying residents at Parkmerced utility fees is fraudulent concealment.
26

27

28




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             153.    Defendant Parkmerced did not disclose to Plaintiffs that pending a development
 i
 a    agreement that was submitted to S.F. Planning Department, Plaintiffs townhome apartment

 3    would be demolished.
 9
             154.    The California Supreme Court has stated,"[c]onspiracy is not a cause of action,
 5
     but a legal doctrine that imposes liability on persons who, although not actually committing a to
 6

     themselves, share with the immediate tortfeasors a common plan or design in its perpetration.

 s   By participation in a civil conspiracy, a co-conspirator effectively adopts as his or her own the

 9
     torts of other co-conspirators within the ambit of the conspiracy.
io
             155.    Defendants used the Superior Court to file unlawful detainers due to the
ii
     expeditious action of cases that move very quickly through the courts as if on a assembly line to
is
13
     deprive Plaintiffs oftheir rights.

14                                   NINTH CAUSE OF ACTION
                          (Deprivation of Civil Rights: 42 U.S.C. ~ 1983 [8 14]~
15

16           156.    The Named Plaintiffs reallege and incorporate by reference each and every ofthe

i~   foregoing paragraphs as if fully set forth herein.
is
             157.   Recipients of the 3-day notices are consumers-tenants and are members of a
19
     protected class.
Zo
             158.   Named Plaintiffs allege Defendant Parkmerced's wrongful eviction of Named
21

z2   Plaintiffs from their home and others similarly situated evicted over usurious utility fees in

23   violation of("HUD")tenancy termination notices violates Plaintiffs rights under the Eighth
24
     Amendment to the U.S. Constitution. Plaintiff Gavin is disabled and a member of a protected
25
     class under the American with Disabilities Act.
26

2~
             159.   Named Plaintiffs alleged Defendant Parkmerceds' wrongful eviction of Named

as   Plaintiffs from their home and others similarly situated evicted over usurious utility fees in



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      violation of("HUD")tenancy termination notices violates the Fourteenth Amendment to the
 1

 z    U.S. Constitution. Under("HUD")regulations no termination is valid unless the landlord has

 3    complied with the federal notices requirements. See e.g., Leake v. Ellicott Redevelopment
 4
      Phase II, supra note 26,470 F. Supp. At 602(finding termination notice failed to comply with
 5
      the requirements of24 C.F.R. Part 450, the predecessor of Part 247); Riverview Towers
 6

      Associates v. Jones, 817 A.2d 324(N.J. Super. Ct. App Div. 2003)(landlord must comply with

 s    HUD lease termination notice requirements); Lincoln Terrace Associates, Ltd., v. Kelly,635

 9    S.E.2d 434,438(N.C. Ct. App. 2006)(subsidized landlord failed to prove that notice of
io
      termination complied with lease requirements); Hedco v. Blachette, 763 A. 2d 639(RL 2000)
ii
     (notice of proposed termination that failed to specify the termination date of the lease but that
12

13
      merely stated unless you make payment of all rent in (10) days ofthe date that this Notices was

14    mailed to you, your tenancy will be terminated and an eviction notice may be initiated in court
15
      against you on or after June 29, 1998," does not comply with the requirement of24 C.F.R. §
16
     247.4(a)(1), which requires a specific termination date for a federally subsidized tenancy).
i~
                                          TENTH CAUSE OF ACTION
is
                    (Deprivation of Rights Under Title VIII ofthe 1968 Civil Ri hts Acts
19
             160.     The Named Plaintiffs reallege and incorporate by reference each and every of the
ao
     foregoing paragraphs as iffully set forth herein.
21

Za           161.    The Named Plaintiffs allege Defendant Parkmerced's issuance of Three Day

23   Notices for usurious utility fees targets subsidized tenants who are people of Color, low-income

24
     ~ and / or disabled tenants and disabled veterans on a fixed income in violation of Title VIII ofthey
25
     ~ 1968 Civil Rights Act. See Ex SF Examiner
26
             162.    Plaintiffs allege Defendant Parkmerced discriminated against Plaintiffs based on
2~

as   race and that they are subsidized tenants in violation of Title VIII ofthe 1968 Civil Rights Act.



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             163.    Defendant Parkmerceds' Development Agreement will demolition of 1,538
 i

 z   townhome apartments. Defendant Parkmerced plans to build over five thousand high end luxury

 3   condos to replace the townhome apartments.
 4
             164.   Parkmerced apartment complex is located in a residential district where there is a
 5
     history of discrimination against people of Color. Parkmerced was the defendant of a housing
 6

     discrimination case that went before the U.S. Supreme Court. The U.S. Supreme Court upheld

 8   Title VIII of the 1968 Civil Rights Act that made housing discrimination illegal in San Francisco.

 9   CA. See Trafficante v. Metropolitan Life Insurance Co.,409 U.S. 205 (1972).
io
                                    ELEVENTH CAUSE OF ACTION
ii                                      (Breach of Contract)
is           165.    The Named Plaintiffs reallege and incorporate by reference each and every of the
13
     foregoing paragraphs as if fully set forth herein.
14
             166.   Defendant Parkmerced Investors Properties, LLC,signed a Housing Assistance
15
     Payment("HAP")contract to comply with all of("HUD's")regulations, federal, and state laws
16

i~   and local ordinances.

18           167.   The Named Plaintiffs allege Defendant Parkmerced violate subsidized Plaintiffs
19
     rights under 24 C.F.R. § 983.353 of the("HAP")contract: The owner may not demand or accept
zo
     any rent payment from the tenant in excess of the tenant rent as determined by the PHA. The
zi

as   owner must immediately return any excess payment to the tenant. Plaintiffs allege utility fees

23   are an illegal rent increase under 24 C.F.R. § 983.353.

24
            168.    Plaintiffs allege Defendant Parkmerced breach Plaintiffs HUD Tenancy
25
     Addendum Section 6 Other Fees and Charges (c): "The owner may not charge the tenant extra
26
     amounts for items customarily included in rent to owner in the locality, or provided at no
a~

as



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     additional cost to unsubsidized tenants in the premises." Plaintiffs allege utility fees are an
 i

 a   illegal rent increase.

 3           169.    Named Plaintiffs allege Defendant AUM activation fees, late fees and/ or all fees
 4
     billed to Plaintiffs on behalf oftheir client Defendant Parkmerced is a breach of Plaintiffs
 5
     subsidized contract under the("HAP")contract and are illegal rent increases.
 6

             170.   Plaintiffs alleges Defendant Parkmerced non disclosure that Defendant AUM is

 s   bills for usurious utility fees in the rental lease is fraudulent concealment.

 9           171.   Plaintiffs allege Defendant Parkmerced non-compliance with HUD regulations is
io
     fraudulent conveyance of federal funds.
ii
             172.   Plaintiffs allege Defendant AUM non disclosure of being a debt collector is
IZ

13
     fraudulent concealment and voids a contract.

14                                   TWELFTH CAUSE OF ACTION
                                         (Emotional Distress)
15
             173.   The Named Plaintiffs reallege and incorporate by reference each and every of the
16

i~   foregoing paragraphs as if fully set forth herein.

is          174.    The Named Plaintiffs continue to experience emotional distress by and through al
19
     Defendants actions under 15 U.S.C. § 1692k(a)(1). See McNally v. Client Services, 2008 U.S.
ao
     Dist. LEXIS 66845(W.D. Pa. 2008). See Ex S.F. Examiner
ai

2a          175.    Named Plaintiffs allege all Defendants' cause Plaintiffs emotional distress as low-

23   income Plaintiffs were wrongfully evicted onto the streets with only the clothes on their back.

24          176.    Plaintiff Gavin was evicted onto the street with only pajamas to wear from the
25
     hospital. Plaintiff Gavin is disabled with multiple disabilities and a member of a protected class
26
     under the American with Disabilities Act.
a~

as



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             177.    A disabled veteran told Plaintiff Gavin they were homeless or 10 years and if
 i

 z   evicted over usurious utility fees the would commit suicide.

 3                                THIRTEENTH CAUSE OF ACTION
                                (Negligence: Cal. Civ. Code ~ 3294 et seq.)
 4

 5
             178.    The Named Plaintiffs reallege and incorporate by reference each and every ofth

 6   foregoing paragraphs as if fully set forth herein.

 7
             179.    The named Plaintiffs allege all Defendants' actions perpetuate fraud is deliberate
 a
     and egegious, revealing oppression, malice, or was taken in conscious disregard ofthe rights,
 9
     health, safety, and economic condition of Plaintiffs as defined in Civil Code Section 3294
io

ii   entitling Plaintiffs to an award of exemplary and punitive damages.

is           180.    The aforementioned action resultants harms were directly and proximately cause
13
     by iter alia, omission, strict liability, fault, negligence, breach and violation by Defendants and/~
14
     their agents, staff, or other representatives, in regard to HUD regulations, federal and state laws
15
     and city ordinances.
16

i~           181.   The aforementioned action resultants harms were directly and proximately cause

is   by iter alia, omission, strict liability, fault, negligence, breach and violation by Defendants and/~
19
     their agents, staff, or other representatives, in regard to FDCPA and RFDCPA.
zo
             182.   All Defendants under color of statute, ordinance regulation, custom, and/or usage
ai

as   have subjected, or have caused, to be subjected, Named Plaintiffs to the deprivation of rights,

23   privileges, or immunities secured by the United States Constitution, especially rights to due

24   process —and therefore Defendants are liable to Named Plaintiffs and all others similarly situate
25
     pursuant to 42 U.S.C. section 1983.
26
             183.   Plaintiff Gavin is disable with multiple disabilities and a member of a protected
2~

as   class under the American with Disabilities Act.



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                                   FOURTEENTH CAUSE OF ACTION
 1
                                         Wrongful Eviction
 2
              184.   The Named Plaintiffs reallege and incorporate by reference each and every of the
 3
      foregoing paragraphs as if fully set forth herein.
 4

 5
              185.   Plaintiffs allege Defendants deprivation of Plaintiffs rights under the HUD

 6    Termination Tenancy Notice requirements 24 C.F.R. § 247.4 (a-fl culminates in the wrongful

 7
      eviction of Plaintiffs and all others similarly situated from their home.
 s
             186.    Defendants do not follow the HUD Termination Tenancy Notice requirements in
 9
      under the Housing Assistance Payment("HAP")contract that must be strictly followed under 24
io

li    C.F.R. § 247.6(c)("A tenant may rely on State or local law governing eviction procedures where

IZ    such law provides the tenant procedural rights which are in addition to those provided by this
13
      subpart, except where such State or local law has been preempted ...") See Kennedy v. Andover
14
     Place Apartments, 203 S.W.3d 495, 498 (Tex. App. -Houston [14th Dist.]2006, no pet.)
15
             187.    Under HUD Housing Assistance Payment contract no termination is valid unless
16

i~    the landlord has complied with the federal notice requirements. See 24 C.F.R. § 247.3(a)(2011);

16   Stewart v. Tacoma Rescue Mission, 228 P.3d 1289(Wash. Ct. app 2010(reversing judgment of
19
     eviction because the termination notice did not adequately identify "threatening and intimidation
ao
     behavior); Timber Ridge v. Caldwell, 672 S.E.2d 735 (N.C. Ct. App. 2009).
21

2z           188.    Plaintiffs allege Defendants deprivation of Plaintiffs rights under 15 U.S.C. §

23    1692 et seq Fair Debt Collection Practices Act culminates in the wrongful eviction ofPlaintiffs

24
     from Plaintiffs home. See Romea v. Heiberger &Associates, 163 F.3d 111 (2d Cir. 1998); See
25
     Hodges v. Sasil Corp., 189 N.J. 210, 915 A.2d 896 (civ. Ct. 1998); Eina Realty v. Calixte, 178
26
     ~ Misc. 2d 80, 679 N.Y. S.2d 796(Civ. Ct. 1998).
a~

28




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               189.   The Named Plaintiffs were recipients of a subsidized voucher through the HUD
 i

 z    Housing Choice Voucher Progam. Under 24 C.F.R. § 247.4 (fl Failure of a Tenant to Object:

 3    The failure of a tenant to object to the termination notice shall not constitute a waiver of his
 4
      rights to thereafter contest the landlord's action in any judicial proceeding.
 5
               190.   The named Plaintiffs allege Defendants' actions perpetuate fraud is deliberate and
 6

      egregious, revealing oppression, malice, or was taken in conscious disregard ofthe rights, health,

 a    safety, and economic condition of Plaintiffs as defined in Civil Code Section 3294 entitling

 9    Plaintiffs to an award of exemplary and punitive damages.
io
              191.    The aforementioned action resultants harms were directly and proximately caused
ii
      by iter alia, omission, strict liability, fault, negligence, breach and violation by Defendants and/or
is

13
      their agents, staff, or other representatives, in regard to HUD regulations, federal and state laws

19    and city ordinances.
15
              192.    All Defendants under color of statute, ordinance regulation, custom, and/or usage,
16
      have subjected, or have caused, to be subjected, named Plaintiffs to the deprivation of rights,
1~
      privileges, or immunities secured by the United States Constitution, especially rights to due
is

19    process —and therefore Defendants are liable to named Plaintiffs pursuant to 42 U.S.C. section

20    1983.
ai
              193.    Courts have ruled rent in arrears are a debt since rental payments come under the
as
     statue definition of an obligation arising out of a transaction involving "personal, family, or
23

     household purposes." Tenants are consumers of a commodity (i.e., housing) and the FDCA
29

25   provides a variety of protection to consumers-tenants.

26            194.    Plaintiff Gavin is disable with multiple disabilities and a member of a protected
2~
     ~ class under the American with Disabilities Act.
28




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                                              VI.     PRAYER
 i

 2           WHEREFORE,Plaintiffs respectfully prays that this Court provide the following relief

 3           1.     To issue a preliminarily and/or permanently injunction against the Parkmerced
 4
     Development Agreement to be sent back to S.F. Planning Department prior to the vote on
 5
     approval of the project. Over 700 people have been issued Three Day Notices in violation of the
 6

     Fair Debt Collection Practices Act. Consumers-tenants are members of a protected class.

 8          2.      To issue a restraining order under 18 U.S.C. § 1345(B)(i): prohibit any person

 9   from withdrawing, transferring, removing, dissipating, or disposing of any such property or
io
     property of equivalent value; and bank accounts;
ii
            3.      Issue a judgment preliminarily and/or permanently enjoining the Defendants from
12

13
     continuing to misrepresent the subsidy status oftenants' rental housing in written submissions

14   filed on behalf oftheir landlord clients in actions initiated or pending in SFSC;
15
            4.      Injunctive relief in the form of an order requiring Defendant to disgorge all ill-
16
     gotten gains and awarding Plaintiffs and other similarly-situated full restitution of all monies
i~
     wrongfully acquired by Defendant by means of such unfair and unlawful conduct;
is

19          5.      Award the Plaintiffs and all others similarly-situated statutory damages of$1,000

Zo   in accordance with the provisions of 15 U.S.C. § 1692k(a)(2)(B);
21
            6.      Award the Plaintiffs their litigation costs and reasonable attorneys' fees incurred
a2
     in this action in accordance with the provisions of 15 U.S.C. § 1692k(a)(3), against each named
23

     Defendant individually;
24

25          7.      Award the Plaintiffs and all others similarly-situated statutory damages of $1,000

26   in accordance with the provisions of Cal. Civ. Code § 178830(b);
2~
            8.      For compensatory damages;
28




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             9.        For punitive damages;
 i

 z           10.       For treble damages;

 3           1 1.      For the Court to aside an award for other persons similarly situated according to
 4
      their damages;
 5
             12.     For cost of medical bills;
 6

             13.     For cost of suit;

 8           14.     Reasonable attorney's fees;

 9
             15.     For prejudgment interest at the legal rate;
io
             16.     For prejudgment interest and post judgment according to proof; and
ii
             17.     Grant the Plaintiffs all such other and further relief as this Court may deem
is

13
     necessary and/or appropriate in the interest ofjustice.

14

15                                                               ~'            ~   '~

16                                                                    /            ~

~~   ~ Dated: January 23, 2017


~8                                                                    /            ~~


19

ao                                  VII.     DEMAND FOR JURY TRIAL

21          Plaintiffs hereby request a jury trial on all issues raised in this Complaint.

22
            I declare under penalty of perjury under the laws ofthe State of California and the united
23
     States that the foregoing is true and correct.
24
     Dated: January 23, 2017                          Respectfully submitted,
25

26                                                    by   /~~~K~..Q~

2~
                                                            .~~~          ~~~~
                                                              ro Se Litigant
28




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 i                                        VERIFICATION

 2          I, BAMIDELE HAMBOLU,Plaintiffin the above entitled action, hereby verify under

 3   penalty of perjury, under the laws ofthe United States of America, that the above statement of
 4
     facts and laws is true and correct, according to the best of my current information, knowledge,
 5
     and belief. See the Supremacy Clause in the Constitution for the United States of America, as
 6

     lawfully amended (hereinafter "U.S. Constitution").

 s   Dated: January 23, 2017                      Respectfully submitted

 9
                                                 by
io
                                                 by
ii                                                       P o Se Litigants
iz

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                                   ~:


                         P.~~F~K~~ERCED LEASE
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F'arkmerced
                                                                                              Security Deposit:                                    $0.00
                                                                                              Rent Due Upon Move-In:                           32.293.00
                                                                                              For the Period:                      /12 10 to         st
      RESIDENTIAL TENANCY AGREEMENT                                                           Application Fee:                                     40.00
                                                                                              Other:                                               SO.00
                                                                                              TOTAL CHARGES:                                   $x,333.00
                                                                                                                                                      Lynn
                                                                                        Parkmerced ("OWNER") rents to Hambolu.
1. INTRODUCTION:               Parkmerced Investors Properties. LLC dba                                                            ).  No   other   portio  n
                                                            .San Francisco. CA 94132(24040)               (the  "PREM    ISES"
    ("LESSEE"), and Lessee hires 22 Grijalva Drive                                                                             ment.
                                                             included unless expressly provided for in this Agree
     of the building wherein the Premises is located is
                                                                                                                                                      upon
                                                                                      and end on February 28. 2011. Lessee must,
2. TERM:            The term of this rental shall begin on March 1, 2010                                               term    for  a  new   term    of  like
                                                                a written extension or renewal of the lease
     termination of the initial term of this lease, execute                                                       may,    at Owner    's   discre  tion,  be
                                                                term, except that the monthly base rent
     duration. All lease covenants will apply for the new                                                 over   one   year,    the  landlo   rd  reserv   es
                                                                  lease term is for a period of time
     increased as allowed by local and/or state law. If the                                            any   other   rental    increa   se  permit   ted  by
                                                               ses as allowed by law, as well       as
     the right to impose annual allowable rental increa                                                                          e execute a lease
                                          increa ses  shall be   noticed pursuant to Civil Code Section 827. Failur to
     state and local regulation. Such                                                                                            Section 37.9(a)(5) of
                                                              so may cause the tenancy to terminate pursuant to
      extension or renewal after written demand to do
                                                                   Arbitration Ordinance.
      the San Francisco Residential Rent Stabilization and
                                                                                                                                ncement of the term,
                                                            e to deliver possession of the Premises at the comme
 3. PHYSICAL POSSESSION: If Owner is unabl                                                         ment  be  void   or  voidab    le, but Lessee shall
                                                             d thereby, nor shall this Agree
      Owner shall not be liable for any damage cause                                               be availa  ble  for  Lesse    e  to take possession
                                                                     Should the Premises       not
       not be liable for any rent until possession is delivered.                                                                     with an equivalent
                                                                , Owner reserves the right to substitute the Premises
      at the commencement of the Term specified herein                                                                                      e agrees that
                                                                    at the same monthly rental rate specified herein. Lesse
      size or larger size Premises ("Substituted Premises")                                                                          all  coven   ants and
                                                              commencement of the Term, Lessee shall be bound to
       upon delivery of the Substituted Premises at the
       conditions contained herein.
                                                                                                                                     in advance on the
                                                                   ses shall be 2 293.00. All rent is due and payable
  4. RENT: The initial monthly base rent for the Premi                                                                                    roommates, or
                                                                    without offsets, deductions or credits. In the event of
       first day of each and every month (the "Due Date")                                                                                   nt and that it
                                                                    s and agrees that rent shall be paid with a single payme
       another form of multiple tenancy, Lessee understand                                                                              All  rent shall be
                                                                ndently in order to submit a combined, single payment.
       is up to Lessee to collect individual checks indepe                                                                           shall   design   ate in
                                                                 dba Parkmerced or such other person, as Owner
        paid to Parkmerced Investors Properties. LLC                                                                         or   money     order.   Owner
                                                                   al check or cashier's check and not use cash
        writing. Lessee agrees always to pay rent by person                                                                             shall be paid to
                                                                     s, and no third party checks will be accepted. Rent
        will accept rent payments only from the actual lessee                                                   such    other     place    designated by
                                                                  e. San Francisco, CA 94132 or at
        Owner at the following address: 3711 19th Avenu                                               shall be   consid    ered    rent  and   will be due
                                                                from Lessee from time to time,
        Owner. Any other sums, which may become due                                                  by  mail.  Owner      must     receiv  e  mailed    rent
                                                                           of any payment made
        on the Due Date. Lessee bears the risk of loss or delay                                                                         the monthl renty
                                                                  partial month shall be pro-rated at the rate of 1/30th of
        payments on or before the Due Date. Rent for any                                                                                    ing any dates
                                                                         e to any obligation of Lessee to Owner notwithstand
        per day. Owner may apply any payment made by Lesse                                                                               payme    nt in any
                                                                      such payment. Any attempt by Lessee to allocate a
        or other direction from Lessee that accompanies any
        other way. Lhg II be null and void.
         Initials ''~"mR'
                                                                                                   shall pay a Security Deposit of 0.00, (the
   5. SECURITY DEPOSIT:                Before the commencement of the term, Lessee                                                             Owner and
                                                                         Code Section 1950.5. No trust relationship between
        "Security Deposit") for the purposes set forth in Civil                                                                            other   funds of
                                                                           Owner may commingle the Security Deposit with
         Lessee is created because of the Security Deposit and                                                                      limited   to,  Lessee   's
                                                                       ty Deposit as allowed by law including, but not
         Owner. Owner may retain such amounts of the Securi                                                                       d  by  law,   refund    any
                                                                        ty. Owner shall, within the time period allotte
         obligation to restore, replace or return personal proper                                                                                d to have
          balance after such deductions to Lesse     e  after  Lesse  e   has vacated the Premises. Lessee shall not be deeme
                                                                                                               ALL   keys    to   the  Premi   ses;   and b)
                                                                       until: a) Lessee returns to Owner
         vacated the Premises for purposes of this paragraph                                                        right  to  posse    ss  the   Premi  ses.
                                                                            empty of all persons   claimi ng  any
          Lessee has surrendered the Premises to Owner free and                                                 will   be   mailed     to  Lesse    e at  the
                                                                              of any deduct   ions theref  rom
          Any balance of the Security Deposit and an accounting                                                                                     Securi  ty
                                                                         , a mailing address to which the balance, if any, of the
          Premises unless Lessee provides, in writing to Owner                                                                                   ty  Deposi   t
                                                                                 or other draft refunding any balance of the Securi
          Deposit and the accounting should be sent. Owner's check                                                                      regard   less  of  the
                                                                               of the party who in fact made the deposit and
          may be made in the name of all original lessees regardless                                                                                 thereof,
                                                                      Lesse   e  may NOT apply the Security Deposit, nor any portion
          identity of the persons then occupying the Premises.                                                                   of  Lesse   e  at  any  time
                                                                               t is applied by Owner to any obligations
          to the last month's rent. If any portion of the Security Deposi                                         to  its full  origina  l amoun   t.
                                                                              , reinstate the Security Deposit
          during the tenancy Lessee must, upon 5 days written notice                                                                                        to
                                                                            date   Owner received the Security Deposit, Owner shall pay
          So long as any law so requires, commencing with the


                                                                                  1                                                           1 i ~''-I
              n.a.                                                                                                                          ~i          .,
    Initials ----=
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   Lessee simple interest as directed by such law on the amount held as a Security Deposit provided this tenancy does not
   terminate before the Security Deposit has been held for one year. Said payment of interest shall be made once a year
   commencing with the date the Security Deposit has been held for a year. Upon Lessee's surrender of the Premises, if the
   Security Deposit is insufficient to remedy Lessee's default in rent, to repair damages caused by Lessee and to clean the
   Premises, Owner may use from the accrued unpaid interest such amounts as are necessary for those purposes. Accrued
   unpaid interest or balance thereof, if any, shall be mailed to Lessee at last known address in the same manner as any
   refund of the Security Deposit.

6. LATE PAYMENTS: Lessee and Owner agree that Owner will sustain costs and damage as a result of any late payment
   of rent but that it will be extremely difficult to determine with specificity the actual amount of that damage. Therefore,
   Lessee agrees to pay, as additional rent, a late charge equal to 75.00 for any payment of rent not received by Owner
   within five calendar days of the Due Date. The parties agree that this late charge represents a fair and reasonable
   estimate of the costs and damages that Owner will incur by reason of late payment by Lessee. The provision for payment
   of a late charge does not constitute a grace period and Owner may serve a 3-Day Notice to Pay Rent or Quit on the day
   after the Due Date. Owner and Lessee agree that Lessee paying rent five days after the Due Date on three separate
   occasions within any twelve month period shall constitute habitual late payment of rent and may be considered a just
   cause for eviction.
                                                                                               Lessees) Initials: ""°°

7. RETURNED CHECKS: Lessee and Owner agree that Owner will sustain costs and damage as a result of a check which
   is not honored by the bank on which it is drawn for any reason, but that it will be impracticable or extremely difficult to fix
   the actual damage. Therefore, the following sum represents a reasonable and fair estimate by Owner and Lessee of the
   actual damage that would be sustained. Lessee agrees to pay to Owner the additional sum of US 50.00 as a
   reimbursement of the expenses incurred by Owner. A dishonored check shall constitute late payment of rent and shall be
   subject to the provisions of Paragraph 6 above regarding late payment, including but not limited to habitual late payment of
   rent. Such charges shall be immediately due and payable upon notice to Lessee. Failure to immediately pay the charges
   shall constitute a default under the terms of this Agreement. If Lessee gives Lessor two checks that are returned for
   nonpayment during the term of this Lease, then the future rent shall be payable by certified cashier's check. This policy will
   be applicable throughout the balance of either the initial term or any renewal or extension thereof.              -. L.H..75
                                                                                                Lessees)Initials: -   1e"°°"`

8. FAILURE TO PAY: Pursuant to Civil Code Section 1785.26, you are hereby notified that a negative credit report
   reflecting on your credit record may be submitted to a credit reporting agency if you fail to fulfill the terms of your
   credit obligations, such as your financial obligations under the terms of this Agreement.
9. INDIVIDUAL LIABILITY:           Each person who signs this agreement, whether or not said person is or remains in
   possession, shall be jointly and severally responsible for the full performance of each and every obligation of this
   agreement, including, but not limited to, the payment of all rent due and the payment of costs to remedy damages to the
   Premises regardless of whether such damages were caused by a lessee or invitee of Lessee                     L8
                                                                                             Lessees)Initials: ="'m-

10. USE/OCCUPANCY: The Premises shall be used as a permanent, full-time dwelling for residential purposes only and for
    no other reason. Lessee named in Paragraph 1 of this Agreement and no others is the only original occupant who took
    possession of the Premises pursuant to this Agreement. Lessee may have guests on the Premises for not over fifteen (15)
   consecutive days or thirty (30) days in a calendar year, and no more than one (1) guest at any one time. Persons staying
    more than fifteen (15) consecutive days or more than thirty (30) days in any calendar year shall NOT be considered
    original lessees of the unit. Lessee must obtain the prior written approval of Owner if an invitee of Lessee will be present at
    the Premises for more than fifteen (15) consecutive nights or thirty (30) days in a calendar year. Violation of the provisions
    of this section shall be deemed a substantial and material breach of this Agreement and is agreed to be a just cause for
    eviction.
11. PETS: NO pets, dogs, cats, birds, fish, strays or other animals are allowed in or about the Premises, even temporarily or
    with a visiting guest, without prior written consent of Owner, except as allowed by law. Any such consent is conditioned
    upon Lessee completing, signing, and returning to Owner, Owner's Pet Agreement, which shall become part of this
    Agreement. Any breach of this clause shall be considered a just cause for eviction.
12. WATERBEDS: Waterbeds and/or liquid filled furniture are PROHIBITED in accordance with Civil Code Section 1940.5.
    If the Premises are located in a structure for which the original Certificate of Occupancy was issued after January 1, 1973
    then such furniture may be permitted only upon written consent of Owner, upon the completion of a Waterbed Agreement
    which shall become part of this Agreement, and subject to continued compliance by Lessee of all provisions therein.




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    13. ROOF:       Use of the roof for any purpose by Lessees and/or
                                                                             guests is NOT permitted.
    14• ASSIGNMENT AND SUBLETTING:
        No Assignment or Subletting: Lessee agrees
                                                            and covenants not to assign this
       Agreement or sublet the Premises or any portion
                                                             of the Premises. Therefore, neither
       all or any portion of the premises may be rent
                                                         ed by any of the named Lessees) or
       any other persons to any other persons othe
                                                           r than the named Lessee(s). This
       obligation of Lessee is intended as a stric
                                                         t and absolute prohibition against
       subletting and assignment and may not be waiv
                                                          ed by either party. The parties agree
       that violation of this covenant and obligation shal
                                                           l be just cause for eviction.
                                                                  Lessees)Initials: " L.A..
                                                                                         -°°
   1 5. STORAGE:        No storage space outside of Premises is authorized,
                                                                                   permitted or provided under this Agreement.
   16. PARKING:          Premises (check one) 0 Does NOT ❑Does includ
                                                                                      e parking for any motor vehicles. In cases where
        premises does not include parking, parking is prohib
                                                                 ited on or about the premises except where
        parking is provided or permitted, any parking or                                                            allowable by law. Where
                                                            related plackard, sticker or other permit docum
       or Agent of Owner must be in plain and clear site                                                         ent  as provided by Owner
                                                             so as to be seen in the front windshield of the
                                                                                                                permitted vehicle.
   17. UTILITIES:       Lessee shall pay directly for all utilities, services
                                                                               and charges provided to the Premises EXCE
       listed as follows AS: NONE. Lessee agrees to                                                                               PT for those
                                                          put all utilities in Lessee's name prior to or
      of the premises. Lessee agrees to comply with                                                      when Lessee takes possession
                                                              any energy or water conservation programs
       Lessee understands that the rent paid by all lesse                                                          implemented by Owner.
                                                             es is partially determined by the cost of utilitie
      prevents Owner from passing through to Lesse                                                              s. Nothi ng contained herein
                                                         e utility costs as provided by law.
      In accordance with local regulations Owner shall
                                                             provide one working telephone line and one
      the Premises. Lessee may, at its sole expense,                                                          working telephone jack into
                                                               add additional lines and/or jacks, but no
      installation shall not cause cosmetic or physic                                                         more    than three, and said
                                                        al damage to the Premises or any other part
      responsibility to maintain and to repair all said                                                    of  the   buildi ng. It is Lessee's
                                                          lines. Unlike the local gas and electric compa
      charges for time required to repair telephone lines, wall                                              ny,   the  telep hone company
                                                                   jacks, etc.
                                                                                                                                   . L.H.e..
                                                                                                           Lessees) Initials: =--~"'
  18. MAINTENANCE AND REPAIRS: Lesse shall,
                                                   e        at Lessee's expense, at all times maintain
      appliances, if any, in a clean and good condition                                                  the Premises, furnishings and
                                                            and shall surrender the same upon termin
      condition as received (excepting normal wear and                                                   ation of tenancy in the same
                                                              tear). Lessee understands that Lessee is
      repair of ALL damages in and/or about the Premi                                                       responsible for the cost of
                                                         ses whether caused by Lessee, Lessee's guest
      Except in an emergency, maintenance and repair                                                        s or invitees.
                                                           requests must be made in writing and delive
     over the phone. Such notice shall also be deeme                                                      red to Owner or its Agent, or
                                                             d permission to enter the Premises to
     repairs in accordance with Civil Code Section 1954                                                 perform such maintenance or
                                                              unless otherwise specifically requested, in
     however, may not place any unreasonable restric                                                       writing, by Lessee. Lessee,
                                                            tions upon such access or entry. Owner
     safe and habitable condition until written notice to                                               believes the Premises is in a
                                                          the contrary is received by Owner.
     In the event that Premises is provided with hardw
                                                          ood floors or other non-carpeted floor surfac
     keep at least 80% of such areas covered with floor                                                  es, Lessee hereby agrees to
                                                            rugs or similar coverings. It is also hereby under
     not change or replace any window coverings or other                                                       stood that Lessee shall
                                                                dressings visible from outside the Premi
     prior written consent of Owner.                                                                       ses or building without the
      Lessee acknowledges that the Premises and
                                                         the building from time to time may require
     them in good condition and repair and that such                                                       renovations or repairs to keep
                                                             work may result in temporary loss of use of
     Premises and may inconvenience Lessee. Owner                                                                 portions of the building or
                                                              agrees to do any such work in a manner
     efficiencies, is the least disruptive or intrusive to                                                      that is consistent with cost
                                                           Lessee, and Lessee agrees that any such work
     the rental of the Premises and is contemplated in                                                             is part of the condition of
                                                            the amount of rent paid therefore.
 19. ALTERATIONS: Lessee shall NOT redeco
                                                      rate, paint, refinish floors, or otherwise alter
    shall not apply adhesive paper to any cabine                                                        the Premises in any way; Lessee
                                                        ts, walls, or doors; nor shall Lessee hang any
    fixtures from ceilings or walls; nor shall Lesse                                                            plants, planters or lighting
                                                         e tack, nail or glue any coverings to floors or
    consent of Owner. Lessee shall not install nor                                                               walls without prior written
                                                         operate any washing machines, clothes
     units, portable dishwashers, deep-freeze units                                                   dryers  , air-co  nditioning or heating
                                                         (or other such appliances), pianos, organ
    Premises without Owner's prior written consent.                                                      s,  or   outsid e antennae on the
                                                           No plants, planters or plant boxes may be placed
    carpets, on window ledges or on fire escapes.                                                                    directl y on floors or on
20. SATELLITE DISHES:             Any Satellite Dish installations shall be subjec
                                                                                      t to all of the following rules and conditions:
                                                                                                                                            a)



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     Satellite Dish must be installed within the Premises or inside balcony railings or windows; b)
                                                                                                    Satellite Dish may not exceed
     one (1) meter in diameter; c) installation must comply with reasonable safety standards; d) installation
                                                                                                                 must not damage
     Premises, Premises walls or other appurtenances; e) Lessee remains strictly liable for any injury
                                                                                                         or damage to persons or
     property caused by the Satellite Dish and Tenant agrees to maintain sufficient liability coverage against
                                                                                                                 any such injury or
     damage. Proof of such insurance must be provided to Owner, with Owner listed as an "Additional
                                                                                                                 Insured," prior to
     approval of installation and upon each renewal of coverage.
 21. LOCKS:        Lessee shall NOT change any lock or place additional locking devices upon any door or window
                                                                                                                           of the
    Premises without the prior written consent of Owner. In the event of such installation Lessee shall
                                                                                                        provide Owner with keys
     to such lock or device within 48 hours. Once installed, an approved lock may not be removed
                                                                                                          even when the unit is
    vacated. Keys to the Premises are the exclusive property of Owner. Lessee shall not
                                                                                               consign keys to the Premises to
    any other person without Owner's written consent. in the event that any keys to the Premises
                                                                                                       are lost, Lessee shall be
    liable for the entire cost of all key and lock replacement, at the discretion of Owner, as required
                                                                                                          for the security of the
    Premises, the building and its occupants. All keys must be returned to Owner when Lessee
                                                                                                 vacates, and such return shall
    designate the actual date and time of termination of tenancy. Lessee shall be charged for the cost
                                                                                                        of new locks and keys if
    all keys are not returned. The lockout fee is 75.00.
 22. DAMAGES TO PREMISES: If the Premises are so damaged by fire, flood, earthquake, or
                                                                                                 from any other cause so as to
     render them uninhabitable and therefore destroyed, the tenancy is terminated, unless restored
                                                                                                   pursuant to law.
 23. ENTRY AND INSPECTION: Owner shall have the right to enter the Premises pursuant to
                                                                                                 California Civil Code Section
     1954. Such entry shall not be so frequent as to seriously disturb Lessee's peaceful enjoyment
                                                                                                      of the Premises. Owner
    shall give Lessee reasonable notice of its intention to enter the Premises and shall enter only
                                                                                                      during normal business
     hours. Normal business hours shall be defined as Mon-Fri 8:00 AM - 7:00 PM. Sat 9.00 AM - 6.00
                                                                                                         PM Sun 10.00 AM -
    5: 0 PM. Lessee may not place any unreasonable restrictions upon such entry. If, however, Owner
                                                                                                          reasonably believes
    that an emergency exists (such as a fire or flood) which requires immediate entry, such entry
                                                                                                  may be made without prior
    notice to Lessee.
    If the Premises or the building in which the Premises are located is required by any government
                                                                                                    agency, lender or insurer
    to undergo repairs or alterations Lessee agrees to cooperate fully with Owner so that all such
                                                                                                    repairs or alterations are
    made in as expeditious and efficient a manner as possible.

24. MOVE IN:        All residents moving into the a tower must move in through the designated basement area. Should Tenant
    move in through the lobby, Tenant shall be responsible for any damage caused by the move.
                                                                                                     Said damage shall be
    assessed by Owner and passed onto Tenant for reimbursement. This is a material leasehold covenant.
                                                                                                            In addition, any
   furniture left behind shall be removed by Owner at Tenant's cost.

25. NOTICES: Any notice which either party may give, or is required to give, may be given
                                                                                            as required by law or by mailing
    the same by first-class mail to Lessee at the Premises, and to Owner at: One Varela Avenue. SF
                                                                                                    CA 94132 or such other
   address designated by Owner.
26. INTERRUPTION OF SERVICES: Owner shall not be liable to Lessee or to any other
                                                                                          person in damages or otherwise,
    nor shall Owner be in default under this Agreement for any interruption or reduction of
                                                                                            utilities or services caused by
   someone other than Owner, or by Owner due to circumstances beyond Owner's reasonable
                                                                                            control.
27• TERMINATION: Lessees) is responsible for and agrees to paX, as indicated in this
    lease agreement, the monthly rent and other applicable fees/charges incurred
    through the lease expiration date. Lessees) is further responsible for and agrees to
    provide Owner with a written notice-to-vacate at least 30 days prior to movingout.
    Lessee shall completely vacate the Premises and any parking or storage areas; give written
    notice of Lessee's forwarding address; and deliver all keys, furnishings, if any, and
   Premises to Owner in the same condition as received excepting normal wear and tear by
   the move-out date indicated in the written notice.
   Any attempt by Lessee to terminate the rental agreement prior to the expiration date
   shall be deemed to be in breach of this agreement and Owner shall be entitled to
   recover all damage occasioned thereby including prorated and monthly rent, leasing
   commission, advertising expenses and utilities maintained to show the unit.
                                                                                 . L.H.:,,
                                                             Lessees)Initials:
28. OPTION FOR EARLY TERMINATION OF LEASE:            Lessee may terminate its rental obligations under this Residential
   Tenancy Agreement by delivering to Owner a written notice stating Lessee's intent
                                                                                     to vacate the premises within thirty



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    days and terminate the Residential Tenancy Agreement before the expiration date of its term. Such notice will be effective
    thirty (30) calendar days from the date it is given and rent must be paid through the thirty day notice period. Lessee must
    and shall, at the time of the service of pay to Owner, in addition to the rent owed during the thirty day notice period, a
    termination fee equal to 1 month's current rent. If the full term of the lease is not fulfilled. Such payment will release
    lessee only from any further rental obligations beyond the date the termination is effective. However, all of the terms of the
    Residential Tenancy Agreement must be complied with through the date of vacating the premises. In the event the lessee
    vacates the premises before the lease expires without electing to pay said termination fee or fails to pay the termination
    fee for any reason, lessee shall be liable for all rent owed for the remainder of the lease or up to the time the premises are
    relet as well as all costs incurred by Owner to relet the premises, whichever occurs first.
29. HOLDING OVER:        Lessee agrees to vacate the Premises by 12:00 midnight on the termination date of this tenancy.
   Should Lessee fail to vacate by said time the hold-over shall be presumed to be willful and deliberate and Owner shall be
    entitled to damages for the hold-over period, plus such other expenses incurred due to breach of this condition of the
    Agreement.
30. NUISANCE: Lessee shall not commit, nor permit to be committed, any waste or nuisance upon or about the Premises.
    Lessee shall not disturb other lessees in the building containing the Premises or others in adjoining properties. Three
    complaints in any nine-month period shall constitute a substantial interference with other lessees' comfort, safety and
    enjoyment and shall be deemed a just cause for eviction. Lessee shall also be liable for the actions of their guests and/or
    invitees.                                                                                                        L.Ht~,-.
                                                                                              Lessees)Initials: ='"'°°"
31. HOLD HARMLESS:             Owner shall not be liable for any damages or injury to Lessee, or any other person, or to any
    property, occurring on the Premises or any part thereof, or in common areas thereof, unless such damage is the proximate
    result of the negligence or unlawful act of Owner, his Agents or his employees. Lessee shall indemnify, defend and hold
    Owner and its Agents harmless from all claims of loss or damage to property and of injury to or death of any person or
    persons caused by the intentional acts or negligence of Lessee, his guests, licensees, or invitees occurring on or about the
    Premises including other areas of the building, adjacent sidewalks, streets, etc. Lessee hereby expressly releases Owner
    and/or Agent from any and all liability for loss or damage to Lessee's property or effects whether in the Premises, garage,
   storerooms or any other location in or around the building or premises, arising out of any cause whatsoever, including but
    not limited to rain, plumbing leakage, fire or theft, except in the case that such damage has been adjudged to be the result
    of the gross negligence of Owner or Agent.                                                                        L.H.
                                                                                                Lessees)Initials: ="°°"
32. INSURANCE:          Owner's insurance does NOT provide for coverage of Lessee's personal belongings or personal
    liability unless as a direct and proximate result of Owner's negligence. Lessee is advised to procure and maintain
    at all times a policy of renter's insurance to insure all of Lessee's personal possessions. Owner will NOT accept
    liability or responsibility for any losses not caused by its own proximate negligence.                   L$
                                                                                          Lessees)Initials: "'•m"
33. ARBITRATION: Any controversy or claim arising out of or relating to this contract, or the breach thereof, except claims
    relating to possession of the premises (e.g. evictions and unlawful detainer actions) shall be settled by arbitration
    administered by the Judicial Arbitration &Mediation Service or the American Arbitration Association, which service may be
   chosen by Owner at its sole discretion, and judgment on the award rendered by the arbitrators) may be entered into any
   court having jurisdiction thereof. The parties to the arbitration shall have the right to limited discovery as is determined
    necessary by the arbitrator.
                                                                                              Lessees)Initials: -sue'
                                                                                                                ''"
34. LEAD DISCLOSURE: Many homes and apartments built before 1978 have paint that contains lead (called lead-based
    paint). Lead from paint chips and dust can pose serious health hazards if not taken care of properly. The law requires that
    lessees and lessees receive certain information before renting pre-1978 housing. By signing this Agreement, Lessee
    represents and agrees that Owner has provided Lessee with such information, including, but not limited to, the EPA
    booklef entitled "Protect Your Family From Lead In Your Home." Any known lead-based paint or lead hazards at the
   Premises, if any, are hereby disclosed as follows: SEE ADDENDUM.




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35. ASBESTOS:          The Premises may contain asbestos or have original construction materials that contain asbestos.
    Asbestos is known to exist in the following locations:                         (Copies of available reports, if any, are
    attached hereto for your reference and information.) Damaging or disturbing the surface of asbestos-containing materials
   (AGMs) may increase the risk of exposure. Therefore, Lessee and Lessee's guests, contractors, or invitees shall not allow
    any action which may, in any way, disturb AGMs or any part of the premises that may contain asbestos or AGMs. Lessee
   shall notify Owner immediately if Lessee knows or suspects that an ACM has been disturbed or if Lessee becomes aware
    of any ACM that is showing signs of deterioration.
36. HAZARDOUS MATERIALS DISCLOSURE:                 Pursuant to the regulations of Proposition 65, enacted by the voters of
    California, Owner hereby makes the following required disclosure: "Warning -The premises contains chemicals known to
    the State of California to cause cancer and birth defects or other reproductive harm. More information on specific
    exposures is provided to Lessees in the ADDENDUM G attached hereto and is available at www.prop65apt.org."

37. PEST CONTROL NOTIFICATION:               You are hereby notified that a registered pest control company is contracted for
    periodic pest control services at Parkmerced. The premises you are renting, or the common areas of the building and /or
    premises are covered by such a contract for regular pest control services. By law, you are required to receive this
    notification and the notice provided by the registered pest control company which is attached hereto as an ADDENDUM I.
    By signing this Residential Tenancy Agreement, you acknowledge that you have read and understand the foregoing and
    the referenced attachment.
                                                                                                                       i:, L.H.;:
                                                                                                 Lessees)Initials: =°"°°'
38. GENERAL:        The invalidity or partial invalidity of any provision of this Agreement shall not render the remainder of the
    Agreement invalid or unenforceable. Violation by Lessee of any applicable ordinance or statute shall be deemed sufficient
    cause for termination of tenancy. No oral agreements have been entered into. This Agreement shall not be modified unless
    reduced to writing. Time is of the essence of this Agreement.

39. REGISTERED SEX OFFENDERS NOTICE: Pursuant to Section 290.46 of the Penal Code, information about specified
    registered sex offenders is made available to the public via Internet Web site maintained by the Department of Justice at
    www.meganslaw.ca.gov. Depending on an offender's criminal history, this information will include either the address at
    which the offender resides or the community of residence and the ZIP Code in which he or she resides.
40. NO WAIVER: No failure of Owner to enforce any term of this Agreement will be deemed a waiver of that term or of any
    other term of the Agreement. The waiver by Owner of any term of this Agreement will not be deemed to be a waiver of any
   subsequent breach of the same or any other term of this Agreement, nor will any custom or practice which may develop
    between the parties be construed to waive or to lessen the right of Owner to insist upon performance by Lessee of all the
    provisions of this Agreement. The subsequent acceptance of rent by Owner will not be deemed to be a waiver of any
    preceding breach by Lessee of any term of this Agreement regardless of Owner's knowledge of such preceding breach at
    the time of acceptance of such rent. Owner's acceptance of a partial payment of rent will not constitute a waiver of Owner's
    right to the full amount due nor will Owner's acceptance of rent paid late ever constitute a waiver of Owner's right to evict
    Lessee for habitual late payment of rent.
41. ESTOPPEL CERTIFICATES:               Lessee and each of them and ail persons holding under them, within five (5) days after
    receipt from Owner, shall sign and return to Owner a certificate, statement, or other such document signed by all
    occupants providing such information, as Owner may reasonably request, under penalty of perjury, including, but not
    limited to, the amount of base rent currently paid, the names of each occupant and their respective dates of occupancy,
    the date of the last rent increase, the status of each occupant entitled to special benefits based on age, health, disability,
    income, or other criteria, under any provision of the local rent laws or other applicable law, the identity of furniture or
   fixtures that belong to Lessee, whether the rent includes any parking space or storage space, and the amount of any
   security deposit or prepaid rent and whether interest on said deposit has been paid and through which date. In addition,
    Lessee shall disclose, upon request, any information that Lessee believes would prevent any purchase of the Premises or
    would prevent Owner or potential owner from moving into the Premises. Failure to deliver the above described document
    within the five (5) days shall be a material breach of this Agreement.
42. LEGAL FEES:          Lessee shall pay all costs, including reasonable attorney's fees incurred by Owner in connection with
    enforcing the obligations of Lessee under this Residential Tenancy Agreement. In any action between Owner and Lessee
    in which Lessee would or might be entitled to recover reasonable attorney fees based on any statute, the parties agree
    that the right to recover reasonable attorney fees in any such action shall be mutual and reciprocal notwithstanding any
   statutory provision that would limit recovery of fees to a prevailing lessee only.




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 43. NO RELIEF FROM FORFEITURE:                 Owner and Tenant stipulate that for purposes of Code of Civil
     1 179, that as a condition for granting relief from forfeiture, Tenant shall                                 Procedure Section
                                                                                  pay all back rent, Owner's attorney fees and costs,
    and any other damages sustained by Owner, as a condition for relief
                                                                              from forfeiture.
 44. REPRESENTATIONS TO THE OWNER: The Lessee has
                                                                        made certain representations to the Owner about his credit
     history, rental history, financial affairs, criminal background and other
                                                                               relevant information, in order to induce the Owner to
     rent the Apartment to the Lessee. This Lease has been entered
                                                                            into in reliance by the Owner on this information, with
     respect to both what Lessee represented on his rental application or
                                                                                  otherwise. In the event any of the information is
     untrue or misleading or incomplete then the Owner reserves the right
                                                                                 to cancel this Lease within a reasonable time after
    the Owner discovers the truth. If the Owner discovers the misrepresentatio
                                                                                      ns) prior to the Lessee taking occupancy, such
    cancellation will preclude the Lessee from taking occupancy. Lessee
                                                                                    acknowledges and agrees that such discovery
    occurring after occupancy shall be grounds for Lessee's immediate eviction
                                                                                       at the Owner's option, and if requested to do
    so by Owner, Lessee shall immediately vacate the Property and shall
                                                                               be liable to the Owner for all of his costs, expenses
    and damages that he may suffer by reason of the Lessee's misrepre
                                                                                sentation, including Owner's reasonable attorney's
    fees incurred.
 45. COMMUNITY POLICIES:            Lessee agrees to abide by any and all Community Policies, whether
                                                                                                              made known before or
     after the date of this Agreement, including, but not limited to, rules with respect
                                                                                         to noise, odors, disposal of refuse and use
     of common areas. Lessee has read, understands and agrees to be
                                                                             bound by the existing Community Policies attached to
    and made part of this Agreement.
 46. ENTIRE AGREEMENT:           This Agreement consists of 1 consecutively numbered paragrap
                                                                                              hs, the Community Policies,
     and attachments identified as:
       ~ Asbestos Disclosure                                       0Community Policies
       D Electronic Funds Addendum                                 OX Job Loss Addendum
       D Mold/Mildew and Lead Disclosure                           D Move OuUReplacement Charges
       ~ Parking and Garage Addendum                               O Recreational Facility Regulations
       0x Security Deposit Agreement                               O SureDeposit Enrollment Form
       O Tenancy Agreement for Payment of Rent                     p Tenant Information Sheet
    ~ Utility Addendum                                             0 Utility Provider Information
    ~ Move-In/Move-Out Inspection
   The foregoing constitutes the entire Agreement between the parties
                                                                        and may be modified only in writing signed by all
   parties except that Owner may change the terms of the tenancy and this Agreeme
                                                                                  nt pursuant to Civil Code Section 827.
BY SIGNING BELOW LESSEES) HEREBY ACKNOWLEDGES)
                                                                   READING AND UNDERSTANDING THE TERMS OF
THIS AGREEMENT, AND FURTHER ACKNOWLEDGES)RECEIVING
                                                                      A COPY HEREOF:
 r~~      Signed by LYNN FIAI~OLU
'..1    ';; ThU MdI 4 11:47:18 AM PST 2010                              Signed by LYNN GBYBR
                                                                  ~ . f ~ Thu Mar 4 11:47:19 AM PST 2010
   _ ,.,# Key: 4E34DDFC; IP Address: 173.11.64.177
                                                                   ,,;1 Rey: H16619AB; IP Address: 173.11.64.177
Lynn Hambolu(Resident)                                  Date    (OwneNAgent)
                                                                                                                         Date




                                                                                                                On-Site
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DISCLOSURE OF INFORMATION ON ASBESTOS CONTAINING MATERIALS
Prior to the 1980's asbestos was a common component of materials used in the construction of hospitals, schools, offices,
                                                                                                                               pose
industrial construction and residential buildings. Under certain circumstances, the presence of asbestos in buildings may
a health risk to the occupants.  In order to ensure  that the public is informed of these risks, the California legislature adopted
                                                                                                                                 of
Assembly Bill 3713, which requires, among other things, that the owner of a building constructed before 1979 inform tenants
the presence of Asbestos Containing Materials ("ACM") in the building. The current definition in the statue            is that ACM
comprises construction materials containing "More than one-tenth of one percent asbestos by weight."
We believe that ACM may exist in the following locations in the the floors on the second through top floors, halls and elevators
                                                                                                                              and
of all the high rise apartment buildings: asbestos insulation is on the piping and heaters in the boiler rooms, laundry rooms
                                                                                                                     apartments in
the basement hallways, asbestos insulation may also be present on some heating system duct work in garden
the heater closet, and in some apartment kitchen floor coverings.
The mere presence of undisturbed and non-friable ACM in a building does not present a health hazard. Exposure to airborne
                                                                                                                              the
asbestos fibers can cause asbestos-related diseases. Asbestos is listed under Proposition 65 as a chemical known to
                                                                                                                      There  are
State of California to cause cancer. To comply with Proposition 65, Parkmerced has posted notices in the building.
                                                                                                                        potential
uncertainties about the level of exposure, which can cause disease. If you wish to obtain further information regarding
health risks or impacts of asbestos, please contact your local or state public health agencies.
                                                                                                                          dealing
Asbestos can release fibers if disturbed. Certain general procedures and handling restrictions are necessary when
with ACM. It is important that the materials not be moved,  drilled, bored, sanded,  cored, broken or otherwise disturbed in order
           and   minimize  potential release  of asbestos fibers.  Such  activities may present  a health risk and should  not  be
to prevent
attempted by any person who is not trained in the handling and disposal of ACM.
Parkmerced retained a consulting firm specializing in the field of ACM detection and abatement to complete a survey of the
                                                                                                                              has
complex to ascertain where ACM is specifically located and if the material is in hazardous condition. This engineering firm
conducted a survey  of the building in Parkmerced. A copy is available for review  by our tenants in the Administration Office.

   ! Signed by LYNN HANIDOLU                                            Signed by LYNN GSYER
  ~.~/ ,~ Thu Mar 4 11:47:25 AM PST 2010                          .-r'r ~ Thu Mar 4 11:47:27 AM PST 2010
      ,~ Key: 4E34DDFC; IP Address: 173.11.64.177                     ~ Key: B16619AB; IP Address: 173.11.64.177

                                                        Date    (Owner/Agent)                                            Date
Lynn Hambolu(Resident)




                                                                                                                  On-Site
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                                            COMMUNITY POLICIES
1. In addition to a 50.00 handling fee, an accrued late charge will be collected on any returned check. If Lessee gives
   Manager two checks that are returned for non-payment during the term of the Lease, the future rent payments shall only
   be made by cashier's check. This policy will be applicable throughout the balance of either the initial term or any renewal or
   extension thereof.
2. Please limit your speed within the apartment community to 5 m•~h.. Motorcycles and bicycles may be ridden only on
   driveways and parking lots.
3. The equipment in the bathrooms and kitchens shall not be used for any purposes other than those for which they were
   constructed. No sweepings, rubbish, rags, disposable diapers, sanitary napkins, tampons, ashes or other obstructive
   substances shall be thrown therein. Do not place metal, string, grease, coffee grounds, nut shells, glass, olive or fruit pits,
   corn cobs, paper, wire, bones or non-food in disposal. Lessee shall be held responsible for any repairs or damage
   resulting from the misuse of such equipment and shall reimburse Manager for necessary expenses incurred in the repair of
   such equipment. Portable washers or dryers that are not approved in writing by the Manager are prohibited.
4. Lessee shall not make or permit any noise, or engage in or permit any other conduct that disturbs or offends other Lessees
   or neighbors. Special consideration must be exercised between the hours of 10 pm and 8 am. Lessee must comply with
   the directions of Owner and Owner's determination shall be final. Lessee is responsible for ensuring that disturbing noises
   are not caused by Lessee's family, guests or invitees. Social gatherings of Lessee and their guests are welcomed and
   encouraged provided that such gatherings do not become loud, boisterous, or generally objectionable, as judged in
   Owner's sole discretion, so as not to interfere with the right of quiet enjoyment of other Lessees and neighbors. Hosting a
   loud, boisterous party in violation of this rule may lead to Lessee's eviction.
5. There may be card-operated laundry facilities located on the property. Please report machines which are not operating
   properly to the office. Washers and dryers can be dangerous, therefore, no one should play in the laundry facilities. Please
   do not use the laundry trash dispensers for your household trash. We appreciate your help in keeping our laundry facilities
   clean.
6. Trash and recycle containers are provided for each apartment. These containers are provided for your convenience. Do
   not place trash on the ground if your trash containers are full as any trash outside of the provided containers will NOT be
   picked up by the trash company. Do not use park trash containers for your household trash. For household trash,
   containers are picked up at the curb each Friday. The date of trash pick-up is subject to change. Residents are responsible
   for removing their trash and recycling containers from the curb within 24 hours of pick-up. They should be placed in your
   garage or in a location not visible from the street. Please do not place containers in a walkway or a place that will disturb
   your neighbors. Littering (trash, paper, and cigarette butts, cans, etc.) in or around the apartment community is not
   permitted. Ail areas visible to the public including patios in the control of Lessee must be maintained in a clean and orderly
   manner, free of the following items, but not limited to: trash, boxes, debris, storage containers, excessive plants, bicycles,
   toys, tires, and appliances. These areas must be maintained so as not to create a visible or other hazard whatsoever.
7. The use of any charcoal burner, liquid petroleum gas fueled or any other open flame cooking device are prohibited in
   tenants unit or on their patio/balcony.
8. No unnecessary loitering in the management office, amenity areas or parking areas.
9. Skateboards, motorcycles, bicycles and similar vehicles may not be stored in entry ways or under stairs. Motor vehicles
   must be parked on the street, in a driveway, or in a garage. NO and vehicle shall be parked on any sidewalk, pathway, or
   walkway designated for pedestrian use; or any unpaved area including lawn, landscaped areas, and trails unless prior
   authorization is received from all local law enforcement. All bicycles can not be parked in such a way as to be a hazard to
   vehicles or pedestrians.
10. All residents moving into the a tower must move in through the designated basement area. Should Tenant move in through
    the lobby, Tenant shall be responsible for any damage caused by the move. Said damage shall be assessed by Owner
    and passed onto Tenant for reimbursement. This is a material leasehold covenant. In addition, any furniture left behind
   shall be removed by Owner at Tenants cost.
   f < Signed by LYNN FiAMBOLU                                         Signed by LYNN GSYSR
      j Thu Mar 4 11:47:32 AM PST 2010                                  ~ Thu Mar 4 11:47:34 AM PST 2010
    j Key: 4E34DDFC; IP Address: 173.11.64.177
    ;                                                               ,:~~ Key: B16619AB; IP Address: 173.11.64.177

Lynn Hambolu(Resident)                                 Date    (OwneNAgent)                                            Date




                                                                                                                On-Site
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Dear Lynn Hambolu,

Re: Pay your rent electronically or by check

When you provide a check as payment, you can authorize us either to use information from your check to make aone-time
electronic fund transfer from your account or to process the payment as a check transaction. Please note, when we use
information from your check to make an electronic fund transfer, funds may be withdrawn from your account as soon as the
same day we receive your payment. You will not receive the physical check back from your financial institution, but you will
see the amount withdrawn on your monthly bank statement, just as with any other electronic fund transfer.
Please do not hesitate to contact Resident Services if you have any further questions. We appreciate the opportunity to serve
you better.


Thank you,
Parkmerced




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                                       ADDENDUM TO LEASE AGREEMENT
     Addendum to lease dated: March 4. 2010 Apt. #24040
     Between Resident(s): Lvnn Hambolu
     And Landlord: Parkmerced Investors Properties. LLC dba Parkmerced
     RE: Risk Free Rental Terms
     Landlord hereby waives termination fee if resident involuntarily loses his/her job during the term of this lease agreement. All
     eligible parties will be required to provide verification from the employer that states the Employee/Resident's employment has
     been terminated involuntarily. This information will need to be provided on company letterhead along with a contact and phone
     number to the Human Resources Department to verify information verbally.
     To be eligible for this program, the Resident must fulfill a 30-day written notice, and must be current with all rental amounts
     due through the date of move-out. Also, apartment must be left in good condition with no damages, or damages will become
     due and payable to avoid further collections.
              Signed by LYNN HANIDOLU                                 ,~        Signed by LYNN GBYSR
      -.       ,.'j Thu Mar 4 11:47:38 AM PST 2010                          r t Thu Mar 4 11:47:40 AM PST 2010
           -~,,,~ Key: 4E39DDFC; IP Address: 173.11.64.177                 r j Key: B16619AS; IP Address: 173.11.64.177

     Lynn Hambolu(Resident)                                    Date   (Owner/Agent)                                            Date




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                                                                                                                                ___
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                                   DISCLOSURE OF PRESENCE OF
                                     MOISTURE/MOLD/MILDEW
                                                                                                           moisture, mold or
Due to coastal and other conditions, Resident hereby acknowledges that there is a likelihood of developing
                                                    acknowledg es that his/her maintenanc e practices may create or increase
mildew in the demised premises. Resident further
the level of moisture, mold and mildew at the premises.
                                                                                                                moisture, mold
R esident agrees to examine, clean and maintain the demised premises regularly in order to keep it free of any
                                                                  in writing in the event Resident notices the developmen  t of
or mildew. Resident further agrees to immediately notify Landlord
moisture, mold and mildew at or about the demised premises.
                                                                                                           action or complaint
Furthermore, Resident agrees to defend, hold harmless and indemnify Landlord from any claim, cause of
                                                                               any personal injury, property damage, or other
by a third party (i.e., a person who is not a party to this Lease) relating to
                                                                        to moisture, mold and/or  mildew  due to any negligent
damage alleged to have been caused, entirely or in part, by exposure
act or omission on the part of Resident.
                                                                                                                 from moisture,
By signing this Addendum, Resident acknowledges that he/she is satisfied that the premises is safe and free
                                                                                                 sole responsibilit y of Resident
mold and/or mildew at the time Resident takes possession. Resident further agrees that it is the
                                                                              of             mold and  mildew  at all times.
to take reasonable measures to ensure that the demised premises remains free moisture,
                                                                                                                 into the
In consideration of their mutual promises, Landlord and Resident agree that this Addendum is hereby incorporated
Lease Agreement as though fully set forth herein.


        DISCLOSURE OF INFORMATION ON LEAD-BASED PAINT AND/OR
                      LEAD-BASED PAINT HAZARDS
Lead Warning Statement
                                                                                                                      built before
Recently issued Federal regulations require landlords to inform their tenants) about lead-based paint. Housing
                                                                    and   dust  can  pose  health  hazards  if  not taken  care of
1978 may contain lead-based paint. Lead from paint, paint chips,
                                                  young   children and  pregnant    women.   Before  renting   pre-1978   housing,
properly. Lead exposure is especially harmful to
                                                                                                             dwelling. Residents
Landlords must disclose the presence of known lead-based paint and lead-based paint hazards in the
                                    a Federally approved   pamphlet titled, "Protect your family from lead in  your home".
acknowledge that they have received
 Landlord's Disclosure
                                                                                                                on certain
(a) As a result of a 1999 lead-based paint survey of Parkmerced, lead-based paint was determined to be present
                                                                                                  good  condition, free of
    architectural components of Parkmerced's residential structures. The painted surfaces are in
    cracks, chips gouges or other disturbances to the surfaces.
                                                                                                     paint hazards in its
(b) Parkmerced's only available records or reports pertaining to lead-based paint and/or lead-based
                                                                                                             available for
    housing, the prior owners 1995 lead-based paint survey and the current 1999 lead-based paint survey, are
    inspection during regular business hours, Monday through Friday, at Parkmerced rental office.
(c) Landlord is proceeding with certain lead abatement procedure.
                                                                                                                         L.H. -
                                                                                                  Tenant(s) Initials: .-3~=°~

 Certification of Accuracy
                                                                                                                       accurate.
 The Landlord and Resident certify, to the best of their knowledge that the information provided by each is true and
        Signed by LYNN HAMBOLU                                           Signed by LYNN G$Y13R
       y Thu Mar 4 11:47:52 AM PST 2010                              rf ~ Thu Mar 4 11:47:57 AM PST 2010
                                                                       ;,.~ Key: B16619AB; IP Address: 173.11.64.177
  r -:J Key: 4E34DDFC; IP Address: 173.11.64.177

                                                        Date    (OwnedAgent)                                              Date
 Lynn Hambolu(Resident)




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                                               MOVE OUT/REPLACEMENT CHARGES
This document is incorporated into and shall become a part of the Lease Agreement by and between Parkmerc~d and
  Resident Names)
  Lynn Hambolu
  Apartment Address
  22 Grijalva Drive #24040, San Francisco, CA 94132
  SUYNARY OFESTIMATED MOVE OUT CHARGES:
                                                                    STUDIO                           1 BEDROOM                           2 BEDROOM                  3 BEDROOIII
  Pes[ Control                                                                   X25.00                              $35.00                               $40.00                 ~ $50.00
  Bathroom Pedestal sink                                                        X227.80                            $227.80                           5227.80 per             $227.80 per
  Carpet Replacement                                                          57,000.00                          $1,120.00                             $1,400.00               52,300.00
  Carpet Replacement(renovated)                                               $1,500.00                          $1,739.84                             52,680.64               $3,629.72
  Carpet Shampoo                                                                X114.00                            X123.00                               5154.00                 5215.00
  Kit. or Bath.vinyl Floors                                                     5319.00                       $345 to $510                          5345 to u675            X510 to $840
  Kit. or Bath.Tile Floors (renovated)                                       Actual cost                        Actual cost                          Actual cost              Actual Cost
  Kitchen Counter                                                            Actual cost                        Actual cost                          Actual cost              Actual Cost
  Full Paint                                                                    5597 20                559120 to $665.10                   $812.90 to $886.80       51108.50 to $1182.40
  Full Paint (renovated)                                                      $1,274.00              $1565.00 to $1665.00                51881.00 to $2175.00       $2310.00 to $2675.00
  Partial Paint                                                                 5300.00                $332.55 to 540645                   $406.45 to 5443.40         855425 to $591.20

REPLACEMENT/REPAIR CHARGES: Should replacement of damaged or missing items be necessary or repairs made in the apartment, the following minimum charges will be assessed,
labor included. Items not included on the list will be billed at actual cost.
  ITEM                                        COST                    ITEM                                        COST                    ITEM                         COST
  Window Coverings -Labor $35 per hr                 Actual Cost      Interior Doorknob                                        551.43     Smoke Detector                         $45.95
  Garbage Disposal                                      $165.15       Dining Room -Ceiling Fan                                $132.46     Switch Plate                           537.00
   Range Knobs                                        $15.00 ea.      Light Fixtures - Vaniry                                  $67.84     Mirrors                                S50.00
  Cabinet Handles                              $36.54 or $51.43       Light Fixtures -Hallways                                 548.46     Bathroom Faucet                       $109.52
   Dishwasher Rack                                        534.00      Light Bulb Replacement -Bathroom                   570.00 ea.       Shower Curtain Bar                     S67.31
   Kitchen Faucet                                       5125.58       Light Bulb Replacement -Kitchen                    $15.00 ea.       Medicine Cabinet            $68.94 or $744.49
   Appliances                                        Ac[ual Cosl      Mail Box Lock                                           845.00     Toilet Seat                              57.00
   Bi-fold Closet Door                                  $150.00       Re-Key Lock                                           5150.00      Soap Holder                             $44.30
   Interior Door                                      $1,000.00       Stairwell Carpet Replace                              5295.44      Toilet Paper Dispenser                  X49.50
   Entry Door                                         $1,200.00       Kitchen Cabinets Repaint                              5300.00      Towel Bar                               553.00
  Patio Door                                          $1,100.00       Wood Floor Refinish                           $1200 to 51600       Tub Resurfacing                   $320 to $600

 OTHER CHARGES: Labor Charges and supply costs will be assessed for trash removal, doors, dooArames, power devices, shelving, heat registers, removing contact paper, mirror tiles,
 wallpaper and any other miscellaneous repairs or cleaning cost incurred.
   ITEM                                       COST                    ITEM                                        COST                   REM                          COST
   Bathroom Cabinets/med cab cln.                     $15.85 per      Dishwasher cln.                                         530.75     Stairwell carpet shampoo                59225
   Bathroom Floor cln.                                $30.75 per      Oven/Range cln.                                         530.75     Wall Paper Femoval               574.90 per hr
   Bathtub cln.                                       530.75 per      Refrigerator cln.                                       530.75     Touch Up Paint                   $74.90 per hr
   Shower walViile                                    330.75 per      Sinks: Kitchen                                     X15.85 per      Trash/Furniture Removal          $30.75 per hr
   Blinds cln.                                        X30.75 per      Bathroom                                           $15.85 per      Wall Cleaning                    $30.75 per hr
   Commode cln.                                       530.75 per      Janitor Hourly Rate                                     530.75     Window Cleaning                  530.75 per hr
   Mirror cln.                                            $15.85      Plumber Hourly Fate                                     X82.76     Shelf paper Removal              530.75 per hr
   Kitchen Floor cln.                                     530.75      Handyman Hourly Rate                                    $35.00
   Light Fixtures cln.                                $15.85 per      Carpenter Hourly Rate                                   $85.00
   Stairwell Full Paint                                 X300.00       Painter Hourly Rate                                     574.90

PAINT•      Management shall assess charges against the security deposit for the painting of walls. Apro-ratetl charge will be assessed for normal wear and tear for painting based on the
following charges.
1-12 Months -Full Cost of Refurbishment or hourly rate for touch up.
13-36 Months -Total amount of fullpaint will be prorated for the remaining months of occupancy.
Total will be based on the 3 year life span of paint.
'Motlilied walls or color changes are not depreciable, resident must bring back to original move in condition or lull paint charges wit! apply.
   Carpet estimated life span                                                                       Paint estimated life span
  5 years                                                                                           3 years
 Nothing herein shall be constructed as a limitation upon landlord's right to pursue cause for damages not specifically listed above

             Signed by LYNN HANIDOLU                                                                     Signed by LYNN GEY$R
  ~:~~ ; Thu Mar 9 11:48:03 AM PST 2010                                                            '
                                                                                                   .~~~~ Thu Mar 4 11:48:04 AM PST 2010
     .
     ,   Key: 4E34DDFC; IP Address: 173.11.64.177                                                        Key: B16619AB; IP Address: 173.11.64.177

 Lynn Hambolu(Resident)                                                                Date      (Owner/Agent)                                                               Date




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                                                                                                                                                                    On-Site
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                                    PARKING AND GARAGE ADDENDUM
 Resident(s):                                                                                                Apartment #:
 Lynn Hambolu                                                                                                24040

 Parking Information
 Parking Space #(s):                           Garage It(s):                                 Carport #(s):
 N/A                                           N/A                                           N/A

CONDITION OF RESIDENCY: Occupant shall, as a condition of this agreement, be an approved resident of Parkmerced.
Occupant agrees to vacate this garage upon vacating his/her apartment.
1. ASSIGNMENT: Occupant understands that assignment and/or sublet of the said premises is not permissible and would,
   therefore be considered a direct violation of the Lease Agreement.
2. PURPOSE: This garage will be used for the purpose of parking an automobile, truck, or motorcycle only. Garage may
   not be used for storage or major car repairs. No business enterprise may be conducted on the premises.
3. LIABILITY:      Occupant understands and agrees that anything placed in said garage will be at his or her own risk.
   Management shall not be liable for injury, theft, and/or damage resulting from any cause whatsoever, including Acts of
   God, in any and all claims filed.
4. ACCESS:            Management may enter garage for inspection, maintenance repairs or emergencies.
5. RULES: Occupant agrees to obey all rules and regulations of this apartment community. Inoperable and/or unregistered
   vehicles are not permitted anywhere on the premises, including the garages. Toxic and/or flammable materials may not be
   stored in the garage at any time.
6. DAMAGE:          Resident will be held responsible for any and all damages to garage area including oil and/or any other
   vehicle fluid stains.
7. ADDITIONAL RENT:
By execution hereof, this addendum shall be deemed, and wholly incorporated, as part of the lease/rental agreement between
all parties as defined on the signed lease contract. Any additional consideration paid for the use of the garage shall be deemed
"additional renY', properly included in any demand for rent payment pursuant to California Law.
/we understand and agree to abide by the covenants of this agreement.
              Signed by LYNN HANIDOLII                                       Signed by LYNN GSYER
 .~ -
   f          Thu Mar 4 11:48:10 AM PST 2010                           ,~r ~ Thu Mar 4 11:48:16 AM PST 2010
        ,_-   Key: 4E34DDFC; IP Address: 173.11.64.177                 _ .: ,I Key: B16619AB; IP Address: 173.11.64.177

Lynn Hambolu(Resident)                                         Date   (Owner/Agent)                                         Date




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                           RECREATIONAL FACILITY REGULATIONS
In consideration of the right to use the recreation facilities, the Lessee agrees that neither the management or owner of the
community, nor their agents, managers, employees, assigns and successors shall be liable for claims, demands, costs or
expenses arising out of any personal injury, property damage or loss which may be sustained by the Lessee or any persons
whom the Lessee allows to use the facilities, whether or not caused in whole or in part by the active or passive actions of the
management or owner of the community, its agents, managers, employees, assigns and successors, or any cause
whatsoever. In this regard, the Lessee hereby agrees to assume all risk of such occurrences and to hold owner harmless and
indemnify and defend same against any and all claims, liabilities, damages, liens and expenses (including without limitation
reasonable attorney's fees arising directly or indirectly from any such occurrences). Our amenities are provided to please our
Lessees. Please exercise care when enjoying the recreation facilities, as Management is not responsible for physical injuries
that result from the use of our courts and facilities. Any damages to any of the recreational facilities caused by Lessee, Other
Occupants or their guests will result in Lessee being responsible for the cost of the damages. Take caution to lock Common
Area doors on your way out. No pets allowed in any of the Recreational Facilities. Thank you for your cooperation in
connection with the below regulations and we hope you will understand that such rules are for the sole purpose of increasing
the enjoyment of our Lessees.

                                                      BUSINESS CENTER

Certain PARKMERCED INVESTORS PROPERTIES. LLC DBA PARKMERCED community locations have been equipped
with business centers for use of the Lessees and Other Occupants.
A. Business center hours are set by Lessor and are subject to change.
B. No food or beverages will be allowed in the business center.
C. Please treat the equipment correctly. If assistance is needed in operation or for repairs, contact the management office.
D. Excessive noise and unruly conduct in the business center is prohibited.
Any person in violation of these rules will be asked to vacate the area immediately. Failure to adhere strictly to the above rules
and regulations is acknowledged as grounds for suspension of Fitness Center privileges or termination of the tenancy in
accordance with the State law.

                                                       FITNESS CENTER

All persons using Fitness Center do so at their own risk. The Lessor does not assume responsibility for accidents or injury.
A. Fitness Center is for the use of Lessees and Other Occupants only.
B. No food or alcohol is permitted.
C. No boisterous or unruly conduct is allowed in the Fitness Center.
D. Excessive noise is prohibited.
E. Fitness Center equipment and supplies are not to be removed from the Fitness Center at anytime.

Any person in violation of these rules will be asked to vacate the area immediately. Failure to adhere strictly to the above rules
and regulations is acknowledged as grounds for suspension of Fitness Center privileges or termination of the tenancy in
accordance with the State law.

                                                   BILLARD &GAME ROOM

Lessee is responsible and must take full responsibility for borrowed pool cues, balls and chalk. Any damage, theft or loss will
be replaced in full to management. In addition, Lessee, Other Occupants and their guests must comply with the following rules
and regulations:
A. Guests must be accompanied by a Lessee or Other Occupant.
B. Players must be able to properly use the cue and not cause it, or the pool table or balls to be damaged thereby.
C. Use of the tables is limited to normal billiard and pool games only. No gambling allowed.
D. No alcohol or food is allowed.
E. No smoking.
F. No music (only supplied by clubhouse).
G. If someone is waiting, relinquish billiard equipment after one game.
H. Please re-set balls and put cues in racks when done.

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1. Shoes must be worn in the clubhouse at all times.

Lessee, Other Occupants and their guests must comply with the rules as stated above. If not, one formal warning will be
verbalized by the Resident Manager. If still not complied with, the persons) in violation will be asked to leave and the incident
will be noted in Lessee's file. Game and Billiard room hours will be set by community management and can be changed at any
given time.

                                                        MEDIA AREAS

Certain PARKMERCED INVESTORS PROPERTIES. LLC DBA PARKMERCED community locations have been equipped
with media rooms or areas for use by our Lessees. Please follow these guidelines:
A. Media area hours are set by Lessor and are subject to change.
B. No food or beverages is allowed in the media areas.
C. Please treat the equipment correctly. If assistance is needed in operation or for repairs, contact the management office.
D. Excessive noise and unruly conduct in the media center is prohibited.
E. Equipment within the media area is property of Lessor and may not be removed.




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                                 SECURITY DEPOSIT AGREEMENT
This Agreement is made this day, March 4. 2010, by and between Parkmerced (hereinafter referred to as "Lessor"), Lessor
of the apartment complex in which the "Premises", as hereinafter defined, are located, acting pursuant to express written
authority given by the owner of such apartment complex, and Lvnn Hambolu (hereinafter referred to as "Lessee"), in
connection with the Apartment Lease Agreement (the "Lease") between Lessor and Lessee for: Parkmerced (the "Premises").
1. Security Deposit.       Lessor hereby acknowledges receipt from Lessee of the sum of: $0.00 (Security Deposit) which
   represents the security deposit payment under the Lease, which shall hereinafter be defined as "Security Deposit'. Lessor
   will hold the Security Deposit for the faithful performance by Lessee of his/her obligations under the Lease, including
   payment of rent, and cleaning and repair of the Premises after its surrender.
2. Refund of Security Deposit.         Lessor shall deduct from the Security Deposit all monies expended as a result of any
   breach of the lease or this agreement, including but not limited to the following:
   A. Vacate completely the entire Premises by Lessee on or before the date specified in the required written 30 day
      move-out notice.
   B. Expiration of the term of the Lease, or termination or cancellation of the Lease in accordance with the express
      provisions thereof.
   C. Payment by Lessee of all rental required under the Lease, up to and including the date of expiration or termination of
      the term of the Lease, or the full move-out notice period, whichever is longer.
   D. The Premises, including all kitchen appliances (refrigerator, oven, and range) and including all baths, closets, storage
      areas, patios/balconies, etc. have been thoroughly cleaned, so as to be in the same condition as they were in on the
      commencement date of the term of Lease, normal wear and tear excepted.
   E. No defects or damage to the Premises, whether caused by Lessee, pets, or otherwise, unless shown on a written list of
       damages and defects signed by Lessee at the commencement of the Lease term.
   F. Observance and performance by Lessee of all of the other covenants and obligations to be kept or performed by
       Lessee under the Lease up to and including the date of expiration or termination of the Lease term.
   G. Observation and performance by Lessee of all rules and regulations to be kept and performed by Lessee under the
       Lease, including, without limitation, those rules and regulations pertaining to pets.
   H. LESSEE has given LESSOR ~rtv     th      days written notice prior to the date of expiration or termination of the term
       of the Lease.
    I. Lessee has provided Lessor with a written copy of the forwarding address of Lessee.
3. Deductions. Within twenty-one (21) days after Lessee has vacated the Premises, Lessor shall furnish Lessee with an
   itemized written statement of the basis for, and the amount of, any security received and the disposition of such security to
   Lessee.
4. Move-Out Procedures. When Lessee moves out of the Premises, an inspection of the condition of same shall be made
   after all of the personal effects of Lessee have been removed. Lessee should accompany Lessor during said inspection to
   help resolve any problems that may arise. Failure of Lessee to do so shall constitute a concurrence by Lessee in Lessor's
   assessment of charges for damages or cleaning. After inspection by Lessor, appropriate charges will be assessed by
   Lessor for any missing items; damages or repairs to the Premises, or its contents (normal wear and tear excepted) with the
   exception of those items listed on the Move-In/Move-Out Inspection Report attached to this agreement; insufficient light
   bulbs; scratches, burns, or holes in the walls, doors, floors, draperies, carpets and/or furniture; and for cleaning the
   Premises (including all kitchen appliances). Lessee shall be charged for each unreturned key (mail-box key), and charged
   for replacing locks if all door keys to the Premises are not returned to Lessor.




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Parkmerced

              ADDENDUM TO RESIDENTIAL TENANCY AGREEMENT for
                     PAYMENT OF RENT INSTALLMENTS
Whereas, Owner and Lessee hereby agree to amend the Residential Tenancy Agreement, at the inception of the
tenancy, in the following manner, pursuant to this addendum for Payment of Rent Installments:
One: That the initial term of the tenancy shall commence on March 1.2010 and end on February 28. 2011 at the end of the
day ("Initial Term"). The full value of the Lease is $27.516.00.
Two:     Rent for the Initial Term shall be paid in 12 equal installments. Rent is payable in advance on the first day of each
month, without offset, to Owner, for months of March 1.2010 through February 28. 2011 of the Initial Term. The amount of
each installment shall be as follows:
Rent from March 1. 2010 to February 28.2011 in the amount of $2.293.00 per month
Three:     At the time that Lessee executes the Residential Tenancy Agreement, Lessee shall be required to remit the first
installment of rent for March ("First Installment"). The remittance of the First Installment is not a security deposit. The First
Installment shall be applied to March, and Lessee acknowledges that the date when the Residential Tenancy Agreement is
signed may be different from the beginning of March. Lessee also acknowledges that the First Installment is applied to March
regardless of whether or not Lessee takes occupancy of the Premises at the beginning of March or at any time thereafter;
moreover, should Lessee breach the Residential Tenancy Agreement and never take occupancy of the Premises (or any other
designated rental unit assigned pursuant to the Residential Tenancy Agreement), then the First Installment is entirely forfeited
and shall not be refunded, but instead applied to March in accordance with the terms hereof.
Four:     Lessee shall remit to Owner, when Lessee takes possession of the Premises, a security deposit as provided for
pursuant to the Residential Tenancy Agreement. Nothing contained herein shall affect Lessee's obligation to remit a security
deposit at the time Lessee moves into the Premises (or any other designated unit) pursuant to the Residential Tenancy
Agreement.
ACCEPTED AND AGREED TO BY:
        Signed by LYNN HANIDOLU                                          Signed by LYNN GEYBR
'.~    ~ Thu Mar 4 11:48:29 AM PST 2010                                  Thu Mar 4 11:48:31 AM PST 2010
      1 Key: 4E34DDFC; IP Address: 173.11.64.177                    .-   Key: B16619AB; IP Address: 173.11.64.177

Lynn Hambolu(Resident)                                 Date    (Owner/Agent)                                           Date




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                              RESIDENT INFORMATION SHEET
Date: March 4. 2010
 RESIDENTS)OF RECORD
                                            n named as resident)
(Please complete one secifon for each perso
 GENERAL INFORMATION
 Name:
 Lynn Hambolu
                                                         City, State, ZIP:
 Current Address:
                                                         San Francisco CA 94132
 22 Grijalva Dr.
                                                         Cellular Telephone:
 Telephone:

                                                         Work Telephone:
  Employer:


  E-Mail Address:
  tavidiva C~ hotmaiI.com
  EMERGENCY CONTACT INFORMATION
                                                         Relationship:
  Name:

                                                         City, State, ZIP:
  Current Address:


  Telephone:




  OTHER OCCUPANTS
                                                          Date of Birth:
   Name:

                                                          Date of Birth:
   Name:




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          UTILITY ADDENDUM: DISCLOSURE OF RESIDENT'S FINANCIAL
                          RESPONSIBILITY FOR
              WATER,SEWER AND TRASH COLLECTION CHARGES
This utility addendum is hereby incorporated into the Residential Rental Agreement.
A. Lessee shall pay for water and sewer service based on an allocation formula, not actual meter reads, since water is not separately
   metered to the apartment units at Parkmerced (the "Property"), and cannot therefore be precisely billed or charged. The water
   and sewer bills received by Owner from the local utility(ies) will be used to calculate the charges per apartment unit. Specifically,
   the Lessee's bill will be calculated in the following manner: The Property's water and sewer bills will be allocated to each
   apartment unit at the Property based on a percentage assigned to each apartment unit based on the number of rooms in that
   apartment unit compared to the total amount of rooms in all apartment units at the Property. Lessee's bill will be equal to this
   calculated monthly percentage multiplied by the Property's water and sewer charges. Prior to allocating the Property's water and
   sewer bills using the method described above, Owner will deduct 15% to account for common area usage.
B. Owner and Lessee agree that the exact amount of the water consumed in Lessee's unit and the exact amount of water used in
   the common area and other apartment units at the Property cannot be determined precisely, but that the methods described
   above to calculate those amounts are reasonably accurate estimates. Lessee acknowledges that under the billing method
   described above Lessee may be paying for water usage in the common areas or in other Lessee's units. Lessee will be billed
   monthly for such allocated charges. Lessee further acknowledges and understands that the amount of the monthly bill will
   fluctuate, depending on actual usage and actual billings from the public utilities. Lessee expressly agrees and acknowledges that
   these monthly charges for water and sewer usage are neither "rent," nor "base rent' as those terms are defined in the San
   Francisco Lesseeial Rent Stabilization and Arbitration Ordinance, but shall instead constitute a separate monetary obligation
   under the lease, separate and distinct from the rent to be paid for the premises, as previously set forth in the aforesaid lease.
   Lessee expressly acknowledges and agrees that Owner does not provide water and sewer as a housing service, and that the
   Lessee is financially responsible for his/her allocated share of water and sewer expenses for the Property.
C. All water and sewer related charges assessed to the Owner may be used to calculate the amount charged to each Lessee under
   the formula described above, including, but not limited to, stormwater charges, water or sewer related charges contained on tax
   bills, and all miscellaneous charges contained on the utility bills received from the local water and sewer providers.
D. The water and sewer bill will be sent to Lessee by , a third party billing provider. Lessee acknowledges that the billing provider is
   not a public utility. Owner reserves the right to change the third party billing provider at any time. Any disputes related to the
   computation of Lessee's bills will be between the Lessee and the Owner.
E. Lessee shall also be billed, and shall pay, for trash service by the third party billing provider. Lessee's trash bills shall be in the
   amount of 22.00 per month, which amount represents the approximate per apartment unit cost incurred by Owner by the local
   trash provider) for trash service as of the date this Lease was signed.
F. Each monthly bill will include a monthly service fee of 3.25 in addition to the water, sewer and trash charges. This monthly
   service fee is for administration, billing, overhead and similar expenses and charges incurred by Owner for providing water, sewer
   and trash billing services.
G. Lessee must make payment in full to Owner or the third party billing provider of the utility charges prior to the due date listed on
   each bill. Owner and Lessee agree that the actual cost to Owner and/or billing provider when Lessee fails to pay the utility bill on
   time is difficult or impossible to ascertain, but the parties agree that Owner and/or billing provider does, in the event of a late
   payment, incur certain costs, such as additional bookkeeping and administrative charges, additional charges from the billing
   provider, costs in printing and mailing late notices, lost opportunity costs of the payment, etc. Accordingly, Owner and Lessee
   agree that if the payment is received after the enumerated due date, Lessee shall immediately pay a late payment in the amount
   of 7.00, which is a reasonable estimate of the costs incurred.
H. Failure to pay any of said charges shall be considered a material breach of this Lease and Owner shall have the right to
   commence legal proceedings against Lessee and all occupants including bui not limited to an unlawtul detainer action to recover
   possession of the premises. Lessee agrees to pay a final bill as of Lessee's move-out day that includes estimated utility charges
   as of Lessee's move-out day.
Date of this Addendum: March 4. 2010
       Signed by LYNN HAMBOLU                                              Signed by LY2~IId GSYBR
 ~- i~ . ~ Thu Mar 4 11:49:16 AM PST 2010                               r..t Thu Mar 4 11:49:20 AM PST 2010
   .. }' Key: 4E34DDFC; SP Address: 173.11.64.177                        _~ Key: H16619AB; IP Address: 173.11.64.177

Lynn Hambolu(Resident)                                     Date    (Owner/Agent)                                               Date




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                                  UTILITY PROVIDER INFORMATION
                                                                                                                94132
Community: Parkmerced                        Apartment Address: 22 Grijalva Drive #24040. San Francisco. CA
Resident(s): Lvnn Hambolu
                                                          utility company on or before the move in date for the purpose of
The Resident is responsible for notifying the appropriate
                                                                  companies (if applicable) provide service to the apartment
placing such utilities in Resident's name. The following utility
address referenced above:

                                              Company                                               Contact Number
 Service
                                              ~                                                     (800)310-2355
 Telephone Company Name:
                                              P.G.& E.                                              1800)743-5000
 Electric Company Name:
                                              Rick Barwick at Comcast                               (415)859-7093
 Cable Television Company Name:
                                               P. .& E.                                             (800 743-5000
  Natural Gas Company Name:
  I nternet Company Name:                      Inquest 1-866-876-3278
                                                                        Signed by LYNN GSYBR
       Signed by LYNN HAN~oLU                                     .-t ,Thu Mar 4 11:49:29 AM PST 2010
  ~ ~~ ~ .~ Thu Mar 4 11:49:26 AM PST 2010
                                              64.177                 ~,f Key: B16619AB; IP Address: 173.11.64.177
        ,r Key: 4E34DDFC; IP Address: 173.11.
                                                                                                                     Date
                                                          Date   (OwnedAgent)
 LynnHambolu(Resident)




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~~rk~nerced
3717 19th Avenue, San Francisco, CA 94132
                                                      MOVE-IWMOVE-OUT ITEMIZED STATEMENT
                                                                                         Community
 ReniAent Name(e)
                                                                                         Parkmerced
 Lynn Hambolu
 ApeAmant Address:
 22 Grijalva Drive ,San Francisco, CA 94132(24040)                                                           N~ork Phone Y                     Vrellminery Inspection By
                                     Home Phone N                         Cell Phone M
 Email Address

                                                                                                                         Final Inspection By         MovrOut Date
                                                            Movrin Dete                  Final Inspection Date
 Initial Inspection Date       InNial Inspection By
                                                            March 1, 2010
                                                                                                                                              move-out
                                                                                              shall be resolved by referring to this move-in,
                                               ng the content or the condition of the premise
Any questions which may later arise concerni               t with care.
                                         Tollowing documen
check list. Please read end complete the
                                                                                                      SP-Needs Spot Painting • RPR-Needs Repair'
                          ' NCC-Nee ds Complete   Cleaning' REP-Replace' SGNeeds Spot Cleaning'
   Codes: S-Satisfactory                                 PT-Needs Painting' SCR-Scratched

                                                          9. Master
                                                          Bedroom
          1. Kitchen                    -•                     Doors----
   Cabinets/Shelves/                                           Walls----~i
              Drawers
                                 -             -              Ceiling
     Floor Coverings -  -
                                                Window Coverings   -  ---
                 Walls
                                  -            -          Windows)
                 Doors
                     -  -
                                                  Floor Coverings  -  ---
                Ceiling
                                                 Elect rical Fixtures
         Countertops -  ---
                                                            Closets)
                                                                   -  ---
          Sink/Faucet
                                               -         Light Bulbs   --
           Unde  r Sink
                     -  -         -
       Drain/Disposal                           10. 2nd Bedroom
    Electrical Fixtures
                     -  ---                                    Doors
   Window Coverings                                             Walls
               Window   -         -            -
                     -                                        Ceiling
      2. Refrigerator   Replace: D YES or ❑ NO  Window Coverings
                                                             Window
           Inside Parts
                                                              Closets
                Outside
                                                   Fioor Coverings
        3. Microwave    Replace: O YES or0 NO    Electrical Fixtures
           Inside Parts                                   Light Bulbs
                    Outside
                                                                                           11. 1 st Bathroom
         4. Dishwasher                          Replace: D YES or O NO                                  Ceiling
             Inside Parts                                                                                Walls
                 Outside                                                                             Tile/Grout
                                                                                            Cabinets/She Ives
        5. Stove/Oven                           Replace: O YES or p NO                                 Flooring
         Stove-Oulside                                                                                   Doors
      Burners/Drip-pans                                                                           Tub/Shower
            Oven Inside                                                                                   Drain
                                                                                                         Toilet
       6.Dining Room                                                                               SinWFaucet
                    Doors                                                                             Electrical
                    Walls                                                                     Fixtures) BWbs
                   Ceiling                                                                          Window(s)
        Floor Coverings                                                                       MirrorlMed Cab
      Window Coverings
              Windows)                                                                      12. 2nd Bathroom
                Closets)                                                                                Ceiling
       Electrical Fixtures                                                                               wasIs
                                                                                                     Tile/Grout
        7. Living Room                                                                         CabineUShelves
                    Walls                                                                              Flooring
                   Ceiling                                                                          Windows)
         Floor Coverings                                                                                 Doors
      Window Coverings                                                                             Tub/Shower
               Windows)                                                                                   Drain
       Electrical Fixtures                                                                                Toilet
              Light Bulbs                                                                          Sink/Faucet
                                                                                                      Electrical
              8. Hall/Stairs                                                                    Fixtures) Bulbs
                       Walls                                                                    Mirror/Mad Cab
                     Ceiling
               Steps/Floors
                    Handrail
              Closets/Doors




                                                                                          22
                                                                                                                                                                On-Site
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                         ,,                              -
                               15. Balcony/Patio
  13. 3rd Bedroom                          Floors     -  -
                                                -   -
                Doors _-_- Trash Removal
                Walls                       O ther _---
                    ng
               Ceili-  ---
  Window Coverings---- 16. Mechanical
              Window              Heater/Furnace
              Closets
                    -  ---               AC Filter
    Floor Coverings            Smoke Detectors)
   Electrical Fixtures  -  --I
                                      Thermostat
          Light Bulbs                       Other
                                  17. Garage/Car
  14. 3rd Bathroom                           Port
               Ceiling             Parking Space
                 Walls                       Floor
            Tile/Grout
   Cabinets/Shelves                   18. Storage
              Flooring               Cleaned Out
               Doors
                                                                                                19. Accessories
         Tub/Shower
                                                                                                 Apartment Keys
                Drain
                                                                                                    Mail box keys
          Windows)
                                                                                                              Fobs
               Toilet
                                                                                                         Storage/
         Sink/Faucet                                                                                 Facility Keys
            Electrical
      Fixtures) Bulbs
      Mirror/Med Cab


                                      General Comments:
                                      Clean Carpet                                  ❑YES - ❑ NO                       $

                                       Replace Carpet                               ❑YES -ONO                         $
                                                                                    OYES -ONO                         $
                                       Fult Ciean
                                                                                    ❑YES -ONO                         $
                                       Full Paint
                                                                                                                                                       Date
                                                                                                Preliminary Inspection By
   Preliminary Mov~O~t Inspection:
                                                                  ents.
   Total Estimated Costs of repairs, cleaning, and replacem                                                                                            Dale
                                                                                                Final Inspection By
                                                        $
   Preliminary Estimate
   Final Charges                                        $
                                                                                                                                          Such amounts can include but are not
                                                           l amounts due under the terms and conditions of the lease.
   Note: This estimate does not include any additiona
   limited to rent, late fees, utilities, concessi ons, etc.

   MOVE-IN




                                                                                  Date
  (Resident)
    FINAL INSPECTION




                                                                                Date
   (Resident)                                                                                                                                                      The resident assume
                                       the premises   with the  contents     and  in the condition as listed on this form at the time of move-in.
    Move-In: The resident accepts                                                                                                               , exclusive    of wear  and tear.
                                                               in the same condition as listed on this form at the time of move-out
    responsibility for surrendering the premises to the agent                                                                                                          terminati on o1 the
                                                                                                                                        the  resident    prior  to the
                                                              deductions itemized in this statement [hat are corrected by
    Move-Out: The security deposit will be used for legal                                                       time  of the  initial inspectio  n. It also allows Owner/Agent to use
                                                              of the Resident'    s possessi   ons during   the
    tenancy or that were not identified due to the presence                                                                                 n       the termination of tenancy.
                                                                the apartmenUproperty between the time of the initial inspectio and
    the security deposit to correct any damages that occur to
                                                                                       tenant   who   is party to the  lease  or  agreemen   t.  The   claim of a tenant to the security
                                                                    landlord for the
    According to State Law: Any security shall be held by the                                                       ng   to Civil  Code   Section    1950.5   (b), "security" means any
                                                                  (Civil Code Section 1950.5 (d)) .Accordi
    shall be prior to the claim of any creditor for the landlord.                                                  except   as  provided   in Section 1950.6, that is imposed at the
                                                                  to, any   payment,   fee, deposit,   or charge,
     payment, fee, deposit or charge, including, but not limited                                                                                       as an advance payment of rent,
                                                                  for costs associated with processing a new tenant or that is imposed
     beginning of the tenancy to be used to reimburse landlord                                                         tion  of  a landlord   for a  tenant's   default in the payment of
                                                                      to, any of the following:(1) The compensa
     used or to be used for any purpose, including, but not limited                                                                                 or  licensee   of the tenant. (3) The
                                                                      of ordinary wear and tear, caused by the tenant or by a guest
     rent. (2) The repair of damages to the premises, exclusive                                                           of cleanline  ss it  was  in  at the  inception of the tenancy.
                                                                  necessary to     return  the unit to  the same   level
     cleaning of the premises upon termination of the tenancy                                                                                               right to occupy begins after
                                                                           this sentence shall apply only to tenancies for which the tenant's
     The amendments to this paragraph enacted by the act adding                                                                               replace,   or  return personal property or
                                                                         in any obligation under the rental agreement to restore,
     January t, 2003. (4) To remedy future defaults by the tenant                                                     thereto  by  the  rental  agreement.
                                                                  security   deposit  is authorize  d to be  applied
     appurtenances, exclusive of ordinary wear and tear, if the




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 Comments:




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                                                   SUREDEPOSIT                                                                           Y 7~~
                                             CALIFORNIA ENROLLMENT &
                                                                                                                                          ~.~
  BANKERS                                     BOND ACKNOWLEDGEMENT
                                                                                                                                     DEPaSIT
  IN51)RAN~E GYtOUP
                                                         License Number OD35043

               ALLRESCO
                       ARC157

                                                                                              RE SIGNING:
                                         PLEASE READ THE FOLLOWING BEFO



                                                                rstand and voluntarily agree that:
          I intend to be legally bound, and I unde
                                                                                                                                  ment community named on
                               a  bond  that  Banke   rs  Insur ance  Company (Surety) issued for the benefit of the apart                                 at
          I am enroll  ing on                                                                                  I will not receive the premium back
       two.  The   prem  ium    that  I am    payin   g for the Bond is not a security deposit, and                                not  relie ve me   of any
page                                                                                                         and thus does
                                                       bond is not liability or other insurance,
the end of my lease. Moreover, this                                      nsibi lity for physi cal dama   ge   to the property or for unpaid rent.
                                                     inclu   ding  respo
responsibilities Ihave under the lease,
                                                                                                                            des coverage for damages that I
                                   amoun  t  listed  after  "Bond   Coverage Amount" on page two. The bond provi                                           for
           The bond   is for  the                                                                               ment (beyond normal wear and tear) or
       be respon sible for  under   the lease   and   under law, including physical damage to the apart                              Bond  Cover age Amoun  t.
 may                                                                                                                    , up to the
                                                       ment, such as unpaid rent or fees ("Covered Damages'
any unpaid obligations under my lease agree                                                                         ded  the  apar  tmen t comm  unit  y first
                                                              s a claim for Covered Damages, and provi
Therefore, if the apartment community make                                                                                  ges, including any collection
                                            5, Suret    y  will be obligated to pay the claim for Covered Dama
 com plies   with  Civil  Code   §   1950.                                                                             nt. I will then be obligated to
                                                             but not to exceed the Bond Coverage Amou
 expenses, court costs, and attorney fees,
 reimburse Surety the amount of the claim.
                                                                                                                           that I have on deposit with the
                                                                  ment community from first applying any money
            Nothing in this agreement limits the apart                                             , it will then   seek  to collect reimbursement from me.
                                        claim.   Moreo   ver, if Surety pays a claim on my behalf
 apartme   nt commu nity   to  pay  the                                                                      y      its employees or agents or assigns) any
                                                         limitations, I authorize anyone to furnish Suret (or
 If this happens, subject to all applicable legal                                                                  nity   and the Surety are not affiliated in
                                       y in collec  ting  the  mone  y I owe. Moreover, the apartment commu
  information that will  assist  Suret                                                                                 g any collection efforts. I understand
                                                          not responsible for the actions that Surety takes durin
  any manner, and the apartment community is                                                                            a) my credit rating may get worse;
                                                             y as a result of my obligations under this bond:
  that if I fail to pay money that I owe to Suret                                                                  age.
                                                          and c) I might have trouble getting insurance cover
   b)I might have trouble renting an apartment;

                                                                        PLEASE READ CAREFULLY
                             THIS IS PART OF THE AGREEMENT.
                                                                                                                                      nity are
                                                     which supersedes all 5) I understand that Surety and apartment commu
   1) This constitutes our entire agreement,                              indep enden t and  unaffi liated compa nies,   and,   that  they are
                                                        thereto, and I am
   prior agreements and understandings pertaining                         therefore not agents, joint venturers,      partne  rs,  paren  ts, or
                                                docum ent, and not relying                                                                   the
   solely relying on what is written in this                              subsidiaries of one anoth  er.  There fore, I under  stand   that
   on any oral representati    ons or promi ses.                                                                              the   condu  ct  of
                                                                          apartment community is not responsible for
                                                        for breach of this                                     respon sible   for  the  condu  ct
   2) The parties hereto shall have all remedies                          the Surety, and the Surety is not
   Agreement    availa ble to them   provid ed by law.                    of apartment community.
                                                                                                                                        and not
   3) This agreement is not intended to be
                                               for the benefit of and     6) I am enrolling in the bond program voluntarily,
                                                                                                                                 tion    of any
   shall not be enforceable by any person who or
                                                  which is not a party     under the pressure, influence or recommenda
                                                                                                                don't  have   to  enroll  in this
   hereto.                                                                 person. I fully understand that I
                                                                                          after consid ering the  matte r, I choos   e to  enroll
                                                       of its rights or    program. But
   4) Neither Party may assign      or deleg ate any                                                                         to do  so.
                                                     y may assign this     because I believe that it makes sense for me
   obligations under this agreement, although Suret                                                                                    time to
    agreement and any resulting judgment, for purpo
                                                     ses of collection.    7) I have had sufficient opportunity and
                                                                           review this agreement.


                                                                                                          Form, I may rescind this
                                                        Calendar Days of signing this Bond Enrollment
           RESCISSION RIGHTS: Within five(5)                                                         unity in cash or by cashier's
                     for a full refun d, PROVIDED I post a security deposit with the apartment comm
   bond  enrol lment                                                                               eposit both a written notice of
                                                  ry, and PROVIDED that I also submit to SureD
   check in the amount that it deems satisfacto                                                         community.
                                                       d the security deposit required by the apartment
   rescission and satisfactory proof that I have poste

                                                                                                                                 OR STATEMENTS.
                                                                I AM NOT RELYING ON ANY ORAL PROMISES
        THIS IS OUR ENTIRE AGREEMENT, AND

                                                                                                                                   ARC157
                                                                       Page 1 of 2
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                                                                                                                                      ~~~
                                          SUREDEPOSIT
                                    CALIFORNIA ENROLLMENT &                                                                  DEPOSIT
BANKERS                              BOND ACKNOWLEDGEMENT
~NSU~„~C~ ~ROUP                                  I I I I(I I I III I I NI I I I I I I I I I I(I                                   3
                                                                          SUREDEPOSIT License Number OD3504
  Bond Number: B=c Fc~c Az 1296
                                    -1303
                                                                                                  Ip; ARC157          HTID: 1163975
  ALLRBSCO
                                                                                                                          40
Park Merced                                                                                 Building #     Apartment# 240
                  22 ~rijalva Drive
Street Address:
                                 sco, CA, 94132
  State and Zip code: San Franci
                                                          3/1/2010
                             Effective Date(Move in Date)



                                                                                          Last Name                Date of Birth
                                 First Name                 MI
             Resident

                                                                                           Hambolu                  10/30/1960
                 1               Lynn




                                                                                       NJ 07039-1711
               men ts To: Sur eDe pos it 293 Eis enhower Parkway Suite 320 Livingston,
      Make Pay
                                                                            S1,000.o0
                                                                   :
                                SECURITY BOND COVERAGE AMOUNT
                                                                              5175. o0
                                 NON-REFUNDABLE PURCHASE PRICE:
                                                            MUNITY:         $1,000.o0
                         REFUNDABLE DEPOSIT DUE TO COM


                                                                                                                                       EEMENT.
                                  GES THAT YOU HAV                                          E BEEN SHOWN PAGE 1 OF THIS AGR
   YOUR SIGNATURE BELOW ACKNOWLED


                                                                                                           Signature of Witness
                                                Signature of Co-Signer or Guarantor
   Signature of Resident #1




                                                Thank you, and welcome to SureDeposit.                         suredegosit.com,
                      ques tion s or conc erns abou t this excit ing program, please visit our website at www.
         If you have                                                                                            feedback.
                                                              at 877-531-7873. We welcome your calls and
                 or call a customer service representative

                                                                                                                                  ARC157
                                                                 Page 2 of 2
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                                        FREQUENTLY ASKED QUESTIONS


What is SureDeposit?                                                                                                 company,
                                                          t: rather than pay a full security deposit to a property
The SureDeposit program is based on a simple concep                                                      the  SureDe posit  program, he
                                                      to SureDeposit. When a resident elects to use
residents may choose to pay aone-time premium                                        t. SureDe posit guaran  tees  the perfor  mance of
                                                       a traditional security deposi
signs a surety bond that replaces (or supplements)                                                                       es to  return
                                                      ment signed with the properly company. The resident promis
a resident according to the terms of a lease agree                                                does not  meet   his obligat ions, he is
                                                      and financial obligations. If the resident
the unit in good condition, and to satisfy all rental                            and   to reimbu rse the proper  ty compa  ny  for
                                                        ge amount of the bond,
required to reimburse SureDeposit up to the covera
                   tions in excess of the covera  ge  amoun  t of the bond.
outstanding obliga

What is a surety bond?                                                                                                 e below for
                                                       provides for monetary compensation in case the principa/(se
A surety bond is a written agreement that usually                                              party guaran tees perfor  mance of an
                                                     A surety bond is created whenever one
definition) fails to perform the acts as promised.                          as define d by the Surety Associ ation of Americ a
                                                         to the agreement,
obligation by another party. There are three parties
(www.surety.org).
                                                                    ion.(The Resident)
          The principal is the party that undertakes the obligat
                        guaran tees the obligat ion will be perfor med. (SureDeposit)
          The surety
                                                             (The Prope  rty Company)
          The obligee receives the benefit of the bond.

 How do I sign up?                                                                                            SureDeposit,
                                                     and pay the required one-time, non-refundable premium to
 Once you complete the SureDeposit enrollment form
                                                ed.
 you are enrolled when your new lease is approv
                                                                                                               ?
                                                   I have honored all the terms and conditions of my lease
 What happens at the end of my lease term if
 You simply move out without any further obligations.
                                                         or fees, or have caused damage to my apartment?
 What happens upon move-out, if I owe rent                                                                                  of rent and
                                                             be required to reimburse SureDeposit for any damages, loss
 If you have not fulfilled your lease obligations you will                                                          obligat ions
                                                               SureDeposit may have paid on your behalf. If your
 related expenses, such as legal and collections fees that                                      the proper ty compa ny  for the
                                                              may also be required to reimburse
 exceed what SureDeposit has paid on your behalf you
 excess.
                                                            by me paying this one premium today?
  How long is the property company covered for                                                                                your
                                                             company and is intended to remain in force for the duration of
 Coverage is purchased for the benefit of the property                                           owner  will keep the bond   in
                                                                 we cannot warrant that the new
  tenancy. However, if your apartment community is sold,                                                                         ant
                           requir ed to post a securit y deposi t upon lease renewal in accordance with applicable landlord/ten
  force, and you may be
  law.
                                                      in this apartment community?
  What happens if I move to another apartment                                                                        community
                                                    you  to the new unit in this apartment community or any other
  Typically the SureDeposit coverage can move with                                   your leasin g agent or commu nity manager
                                                        posit program. Check with
  your property company has participating in the SureDe
  for your community's specific guidelines.

   Are there any other costs for SureDeposit?
                                                        fulfilled your lease obligations.
   No —your one-time premium is all you pay if you have
                                                   ?
   Do I get my premium back at the end of my lease
   No —your premi um is non-re fundab le.

                                                          I     it directly to the apartment community?
   If I do owe fees, rent, or damage expense, can pay
                                                      nding monies  are paid to the apartment community, no claim will be filed
   Yes. That is the best thing to do. Once the outsta
   and you will have no obligation to the Surety.

   Is SureDeposit right for me?
                                                                  the importance of freeing up the cash that would have been
   This is a personal decision for you, as only you can determine
                                                                 posit is paid only once, the longer you plan on staying in your
   tied up in a security deposit. Because the premium for SureDe
   apartment, the better the deal is for you.
                                                                              dents, or call 1 877 531 SURE (7873).
                  For more information, please go to www.suredeposit.com/resi
                                                                                         License: OD35043
                           Offered in California by SureDeposit Insurance Agency, LLC


    Version 4.1
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               ~~~                                 Allocation ~ RUBS Estimated Occupancy
       ,~ ~, _. .... u ~ ~ ~ ; ~ ~, ~ <: ~ r _ .   (Bedroom)—Water/Sewer


"RUBS" Is An Acronym For Ratio Utility Billing System
   •    The purpose of this program is to encourage responsible water &sewer usage by having
        residents pay for a portion of the property's total water &sewer utility costs.
   •    Each resident will be billed for his or her allocated portion of the property's costs.
   •    There are no individual water &sewer meters inside residents' apartments. Residents are
        charged for their proportionate share of the property's total water expense.

The allocation formula is based on the estimated occupancy for each unit. The number of bedrooms in
each unit determines the estimated occupancy as shown in the table below. The estimated occupancy
in the tenants unit is divided by the total estimated occupancy in all dwelling units regardless of the
actual number of occupants or occupied units. Billing is not based upon individual metering.

               Number of Bedrooms                          Estimated Occupants
                        0 (Efficiency)                               1.0
                        1                                            1.6
                        2                                            2.8
                        3                                            4.0
                        >3                                           4.0+1.2 for each additional
                                                                     bedroom

Furthermore, the property's utility costs may be reduced by some percentage for allocation of
common area usage. This cost is absorbed by the property, thus reducing the amount of the bill
allocated to the individual residents.

Generic Example —This is not an actual calculation of your bill

Assume the number of bedrooms in Unit X is 2. The estimated occupant count is 2.8, while the
sum of all estimated occupants for all units on the property is 521.

To arrive at the units individual percentage of the overall water &sewer bill, divide the estimated
occupant number for unit X by the total of all estimated occupants for all units. In this case the
percentage is 0.005374%.


Assume the property has a $2,000 water &sewer bill, and absorbs 30% of these bills for common
                                                                                            x
area. The total cost available to allocate to the residents would be $1,400 ($2,000 - (30%
$2,000).

 Take unit X percentage and apply it to the property's water bill available for allocation to arrive at
 the residents' bill. In this case, it would be $1,400 x 0.005374% _ $7.52:

 If additional charges such as base and billing fees are applied to resident statements they will be
 listed as separate line items. Please note other utility charges may have different billing
 m ethodologies. Trash is a fixed fee based on sq. ft.
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         THREE DAY NOTICE T4 PERFORM CO't~ENANT OR QUIT
         THIS THREE DAYNp77CE SUPERSEDES ANY THREE DAYNOTICE PREVIOUSLY
                                     SERVED UPON YOU.
      To   Lyan Hamboln, an individual, and ALL OTHER LEASEHOLDERS IN
      POSSESSION:
             Premises at Pazkmerced to which this NOTICE relates:
             22 GriJalva Drive
             Saa Francfsco, C~lifornis 94232

             Including all parking spaces, common,and storage areas associated therewith
      referred to as the "subject premises")


 to       YOU AIDE AEREBY NUTIFIED that the written lease agreement and all addendums
      thereto, including the Utility Addendum:Disclosure ofResident's Financial responsibilityfor
 12   Water, Sewer and Trash Collection Charges(hereinafter referred to as the "Lease Agreement"),
 is i under which you hold possession ofthe subject premises, requires performance on your part of
 is the following leasehold covenants, contained within the Utility Addendum:Disclosure of
    ' Resident's Financial responsibility.for N'ater, Sewer and Trash Collection Charges, which you
 15
      have recently failed to perform:
 16
              Lessee shall pay for water and sewer service based on an allocatiaa formula....
 t~           The water and sewer bill will be sent to Lessee by a #bird party billing provider....
              Lessee shall also be billed, and shill pay,for trash service by the third party
 is ~ provider....                                                                            billing
 19           Lessee Enust make payment to full to Owner or the third party billing provider
                                                                                                 of
    ~ the utility charges prior to the due date listed on each bill....
zo            Fa~~are to pay any of said ch$rges shall be considered a material breach
                                                                                         of this
     Lease and Owner shall have the right to commence Legal proceedings against
zt occupants inciudfng bat not                                                         Lessee and al
                                    limited to an unlawful detainer action to recover passession of
2z the premises.

23
            Parkmerced (hereinafter, the "Landlord")recently discovered that these Leaseho
                                                                                            ld
2a covenants are being violated by your failure
                                                to pay billed utility charges in the total amount of
2s $1.586.72.
26

27

28
            THREE DAY NQTICE TU PERFORM COVENANTS OR QUIT
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                 PLEASE BE ADVISED that ifthe foregoing breach ofleasehold covenants is not cured
          within THREE(31 DAYS after service of this NOTICE upon you (excluding the date of service)
     z
          by reimbursing Parkmerced, by way of a payment made payable to Parkmerced in the amount of
     3
          $1,586.72, you must vacate the subject premises and deliver possession to WASSERMAN-
     a    STERN,attorneys and agents for the Landlord, located at 2960 Van Ness Avenue, San
     s    Francisco, California 94109, who are authorized to receive the same,or legal proceedings may
  6       be instituted against you to recover possession ofthe subject premises, to declare the forfeiture of
          the Lease Agreement and leasehold under wluclt you occupy the subject premises.

  8              YOU A.RE FURTHER NOTIFIED that the undersigned does hereby elect to declare
          the forfeitwre ofthe Lease Agreement under which you hold possession ofthe subject premises
  9
         ~ you fail to timely cure the breach oflease covenants set forth in this NOTICE.
 io
                 ADVICE REGARDING THIS NQTICE is available ~Cvom the San Francisco
 ~i
         Residential Rent Stabilization and Arbitration Board located at 25 Van Ness Avenue, Suite 320,
 t2
         '~ 3an Francisco, California. You may also call the Rent Board directly at(415)252-4600.
 13              The Landlord and this NOTICE comply with California Code ofCivil Procedure §
 14       1161(3)et seq. and the San Francisco Admizristrative Code(also known as the Rent Ordinance),
 IS      Section 37.9(aj subsection (2), enacted iu 1979,and amended thereafter, in that you as the tenant ~
16       have violated a lawful obligation or covenant of tenancy.

17
         DATED: ~iugust 24,2011
18

19                                             By:            DAVID P. WASSERMAN,Esq.,
20                                                            Attorney and Agentfor the Landlord,
                                                              PARKMERCED INVESTORS
2~                                                            PROPERTIES,LLC
z2       Attorneys and agents for the landlord:
         WASSERMAN-STEIN
23
         Attn.: David P. Wasserman, Esq.
24              2960 Van Ness Avenue
                San Francisco, CA 94109
2s       Tel.: 415/567.9600
         Fax: 415i5b7.9696
26
         Cogy filed with: San Francisco Rent Board
z~

28
                THREE DAY NOTICE TO PERFORM COVEI'vvA,NTS OR QUIT
                                                         z
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                                                                                       .              ~                             ~       ~
                                                                                                  1019802352       926683572            ~
Your AUM Statement for                                     Visitusonlineat          09/21/11
                                                          www.aum-inc.com                                                          $1,835.39
Parkmerced                                                                             08/01/1 1 -08/31/11         • 31


    Residents                       Summary of Charges                 Message Center
                                                                         bi11 you have received is f=om AUIN, Inc,. a Real Time Billing
    Lynn Hambolu
                                                                         lions Provider, and is not from the retail public utility.
    22 Grijalva Dr
                                                                         your rent ONL'NE! Log on to www.Parlanerced.com/portal to pay your
                                                                          and utility bill with no fee. Email services@parlanerced.com for
                                                                         n info_-oration.



    Contacts                                                                  is due on the 1st of every month. Your account will be assessed a
                                                                              Fee if payment is not received within five (5) calendar days of the
    Rem it to:
                                                                             date.
    Parkmerced
                                                                       eginning Balance may not reflect recent payments.
    1 Varela Avenue
I   San Francisco, CA 94132
                                                                       f you have any questions or need additional assistance regarding non-
                                                                       tility charges on this statement, please feel free to contact
                                                                       arlanerced Resident Services at (915) 905-4690.
    Questions about~rour Bill?
    Call toll free(866)520-1245
    9:00 a.m. - 5:00 p.m. M-F
    Always write your
    account number on your



Do not enclose written
correspondence with
payment
Please send written
correspondence, including
Change ofAiidress to P.O.
Box 4957, Oak Brook, IL
60522-4957




                                                                     DETACH AND RETURN THIS PORTION WITH YOUR PAYME~


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                                                                                      Total Due              $1,835.39
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             LYNN HAMBOLU                                                            PARKMERCED

             22 GRIJALVA DR                                                          1 Varela Avenue
             SAN FRANCISCO CA 94132                                                  San Francisco, CA 94132




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                          EXHIBIT 6
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                                                                                August 16,2012



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       Case 3:17-cv-01039-EMC             Document 1              Filed 02/15/17           Page 82 of 85




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                     Case 3:17-cv-01039-EMC                           Document 1               Filed 02/15/17                Page 83 of 85
                                        UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                             CIVIL~COVER SHEET

I.(a)PLAINTIFFS (Check box if you are representing yourself~                         DEFENDANTS            (Check box if you are representing yourself ~ )

~/~Lt.0 D~li~ bHiNtic-f~dL ~, L-lZ~~ ~rr1/ ~g                                                           ~ LN~cr(~~'                     P ~~v-~,LLC
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(b) County of Residence of First Listed Plaintiff                                    County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES)   f
                                   d ~V.~~;                   ~                      (IN U.S. PLAINTIFF CASES ONLY)   ~o ~ ~~.~~~

(c) Attorneys (Firm Name, Address and Telephone Number) If you are                   Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                 representing yourself, provide the same information.




II. BA515 OF JURISDICTION (Place an X in one box only.)                      III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                   (Place an X in one box for plaintiff and one for defendant)
                                                                                                       PTF    DEF                                   PTf             DEF
    1. U.S. Government                 3. Federal QUeStiOn (U.S.             Citizen of This State     ~ ~ Incorporated or Principal Place          ~ 4             ~ 4
                                                                                                                       of Business in this State
    Plaintiff                          Government Not a Party)
                                                                             Citizen of Another State ~ 2 ~ z Incorporated and Principal Place ❑ 5                  ~ 5
                                                                                                                       of Business in Another State
    2. U.S. Government             ~4. Diversity (Indicate Citizenship       Citizen or Subject of a       3       3 Foreign Nation                 ~ 6             ~ 6
    Defendant                       of Parties in Item III)                  Foreign Country           ~      ~

IV.QftIGIN (Place an X in one box only.)
                                                                                                       6. Multidistrict                              a. nnultidistrict
                 ❑ 2. Removed from ❑ 3. Remanded from ❑ 4. Reinstated or ❑ 5.Transferred from Another ❑ Litigation -
~
L   1.Original
      Proceeding     State Court         Appellate Court ~ Reopened          District (Specify)           Transfer
                                                                                                                                                ~       Litigation -
                                                                                                                                                        Direct File


V.REQUESTED IN COMPLAINT: JURY DEMAND: [~ Yes ~ No                                     (Check "Yes" only if demanded in complaint.)

CLA55 ACTION under F.R.Cv.P.23:                 ~ Yes [~lo                        ~ MONEY DEMANDED IN COMPLAINT: $
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not citejurisdictional statutes unless diversity.)

 ~S,US C lfoRZ, `f 2 ~5C 19'~ 3, di ~/-e v < <~, ~iear~ ~ , ~e~~c.t+ of ~~~,e,~-cr ~ ruo~cE~
VII. NATURE OF SUI (Place an X in one box only).
    OTHER STATtITE5                CLINTRACT    REgL pROF'ER7Y CONT.       IMMIGRATION             PRISONER PETtI'IONS           PROPERTY RIGHTS
   375 False Claims Act      ❑ 110 Insurance    ~   240  Torts to Land  ~ 462  Naturalization         Habeas Corpus:        ~ 820 Copyrights
                                                                           Application
                           ❑ 120  Marine        ~   z45 Tort Product                             ~ 463 Alien Detainee       ~ 830 Patent
   376 Qui Tam                                      Liability             465 Other                 510 Motions to Vacate
  (31 USC 3729(a))         ~ 130 Miller Act     ~ 290 All Other Real    ~ Immigration Actions ~     Sentence                ~ 840 Trademark
   400 State                                        Property                    Tam              ~  530  General                 SOCIAl5ECURITY
                              140 Negotiable
   Reapportionment         ❑ Instrument                  TORTS          PERSONAL PROPERTY ❑ 535 Death Penalty               ~ g67 HIA (7395ffl
❑ 410 Antitrust               150 Recovery of     P~~~~~ ~~~~Y          ~ 370 Other Fraud                   Other:          ~ 862 Black Lung (923)
   430 Banks and Bankin       Overpayment &     ~ 310 Airplane
                         9 ~ Enforcement of                             ~ 371  Truth  in Lending ❑  540  Mandamus/Other     ~ g63 DIWC/DIWW(405(g))
   450 Commerce/ICC                                315 Airplane
                              Jud9ment                                                              550  Civil Rights
   Rates/Etc.
                                                ~ Product LiabilitY     ~ 380 Other Personal ❑                              ~ 864 SSID Title XVI
                           ❑ ~ 51 Medicare Act     320 Assault, Libel &   Property Damage           555 Prison Condition
❑ 460   DeP ortation                            ~ Slander                                        ~                          ~ 865 R51 (405(g))
   470 Racketeer Influ-       152 Recovery of                             385 Property Damage       560 Civil Detainee
                                                   330 Fed. Employers' ❑ product Liability       ❑ Conditions of
   enced & Corru t Or         Defaulted Student ~ Liability                                                                     FEI RALTAX SUITS
                                                                            ~R~~~~~ :,              Confinement
                  P 9      ~ Loan (Exd. Vet.)                                                                                 870 Taxes (U.S. Plaintiff or
  480 Consumer Credit                              340 Marine
                                                                          422 APPeal 28           FdRFEIYUt~lPENALTY ❑ Defendant)
❑ 490 Cable/Sat N            153 Recovery of       345 Marine Product ~ USC 158
                             Overpayment of ❑ Liability                                             625 Drug Related          871 IRS-Third Party 26 USC
  850 Securities/Com-        Vet. Benefits                              ~ 423Withdrawal28 ~ US~88~ fProperty2l                7609
   modities/Exchan9e                               350 Motor Vehicle
                             160 Stockholders' ~                           USC 157
   890 Other Statutory     ~ Suits              ~ 355 Motor Vehicle         CIVIL RIGHT5         ❑ 690 Other
   Actions                                         Product Liability
                                                                          ~0 Other Civil Rights            IJ180R
   891 Agricultural Ads ~
                             190 Other             360 Other Personal ❑
                             Contract           ❑ Injury                ~ 441 Voting             ~ 710 Fair Labor Standards
  893 Environmental                                                                                 Act
                             195 Contract          362 Personal Injury-   4
   Matters                                                              ❑ 42 EmPtoY ment         ~ 720 Labor/Mgmt.
                             Product Liability ~ Med Malpratice
  895 Freedom of Info.                                                    443 Housing/              Relations
  Act                      ❑ 196 Franchise      ❑ poduct Liabilty ry ~ A«ommodations             ~ 740 Railway Labor Act
  896 Arbitration           REAL PROPER71f                                ~5 American with
                                                   367 Health Care/
                                                                        ❑ Disabilities-          ~ 751 Family and Medical
                             210 Land           ~ Pharmaceutical                                    Leave Act
  899 Admin. Procedures      Condemnation          Personal Injury        Employment
  AcVReview of Appeal of ~
                             2z0 Foreclosure       Product Liability      446 American with      ~ 790 Other Labor
  Agency Decision                                                       ~ Disabilities-Other        Litigation
                                                   368 Asbestos
  950 Constitutionality of ~ 230 Rent Lease & ❑ personal Injury         ~ q4g Education          ~ X91 Employee Ret. Inc.
  State Statutes             E'ectment             Product Liabilit                                 Security Act

FOR OFFICE USE ONLY:                   Case Number:                                     v

N-71 (07/16)                                                                                                                                           Page 1 of 3
                      Case 3:17-cv-01039-EMC                              Document 1               Filed 02/15/17                  Page 84 of 85
                                          UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                               CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's Generel Orders, upon review by the Court of your Complaint or Notice of Removal.
QUESTION A: Was this case removed
from state court?                                                STATE CASE WAS PENDIM1lC IN THE COUNTY" OF:                              INITIAL DiVI510N IN CACD IS
               Yes ~o
                                                Los Angeles, Ventura, Santa Barbara,or San Luis Obispo                                               Western
If"no,"skip to Question B. If "yes;'check the
box to the right that applies, enter the      ❑ Orange                                                                                              Southern
corresponding division in response to
Question E, below,and continue from there. ❑ Riverside or San Bernardino                                                                              Eastern


QUESTION B: Is the United States, or 8.1. Do 50% or more of the defendants who reside in                   YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees,a   the district reside in Orange Co.?                                  ~ Enter "Southern" in response to Question E, below,and continue
PLAINTIFF in this action?                                                                                  from there.
                                     check one ofthe boxes to the right ~~
                Yes ~      o                                                                             ~ NO. Continue to Question B.2.

                                                B.2. Do 50%or more of the defendants who reside in         YES. Your case will initially be assigned to the Eastern Division.
If"no," skip to Question C. If "yes;'answer     the district reside in Riverside and/or San Bernardino   ~ Enter "Eastern" in response to Question E, below,and continue
Question 8.1, at right.                         Counties? (Consider the two counties together.)            from there.
                                                check one ofthe boxes to the right   ~                         NO. Your case will initially be assigned to the Western Division.
                                                                                                               Enter "Western" in response to Question E, below,and continue
                                                                                                               from there.

QUESTION C: IS the United States, or C.1• Do 50% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees,a   district reside in Orange Co.?                          ~ Enter "Southern" in response to Question E, below,and continue
DEFENDANT in this adio ?                                                                       from there.
                                     check one ofthe boxes to the right   ~~
                 Yes      No                                                                 ~ NO. Continue to Question C.2.

                                                C.2. Do SO% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Eastern Division.
If"no,"skip to Question D. If "yes," answer     district reside in Riverside and/or San Bernardino      ~ Enter "Eastern" in response to Question E, below,and continue
Question C.1,at right.                          Counties? (Consider the two counties together.)           from there.
                                                check one ofthe boxes to the right   ~~                        NO. Your case will initially be assigned to the Western Division.
                                                                                                               Enter "Western" in response to Question E, below,and continue
                                                                                                               from there.
                                                                                                          A.                         B.                           C.
                                                                                                                              Riverside or San          Los Angeles, Ventura,
QUESTION ~: Location of plaintiffs and defendants?                                                Orange County              Bernardino County          Santa Barbara, or San
                                                                                                                                                         Luis Obispo ounty

Indicate the locations) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the locations) in which 50/0 or more of defendants who reside in this
district reside. (Check up to two boxes,or leave blank if none of these choices
apply.)

               D.1. Is there at least one answ r in Column A?                                            D.2. Is there at least one answer in Column B?
                                      Yes       ~o                                                                        ~ Yes         ~No

                   If"yes," your case will initially be assigned to the                                    If"yes;' your case will initially be assigned to the
                               SOUTHERN DIVISION.                                                                         EASTERN DIVISION.
    Enter "Southern" in response to Question E, below,and continue from there.                             Enter "Eastern" in response to Question E, below.
                         If"no," go to question D2 to the right.      ~~                             If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                           Enter "Western" in response to Question E, below.              ,l.


QUESTION ~:initial givision?                                                                                          INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above: ~~                  ~~T~~

QUESTION F: Nt~rtl~e~n Counties

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara,or San Luis Obispo counties?                       ~ Yes                No

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                       Case 3:17-cv-01039-EMC                             Document 1                 Filed 02/15/17                 Page 85 of 85
                                           UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                                CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                 ~O                  ~ YES

         If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below)to any civil or criminal cases) previously filed in this court?
                                                                                                                                                   NO                  YES
         Ifyes, list case number(s):     Z ~f ~~~iy ~ ~O~3d ~                  ~i
                                                                               '  ~b ^ ~~J         -Ora8i
        Civil cases are related when they(check all that apply):

              ~A. Arise from the same or a closely related transaction, happening,or event;
                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

         Note: That cases may involve the same patent,trademark,or copyright is not,in itself, su~cient to deem cases related.



        A civil forfeiture case and a criminal case are related when they(check all that apply):

                    A. Arise from the same or a closely related transaction, happening,or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                    labor if heard by differentjudges.


 X. SIGNATURE OF ATTORNEY
(ORSELF-REPRESENTED LITIGANT):                                                                                                                o d-~/5/~0 ~~
Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law,except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet(CV-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits(Medicare) under Title 18, Part A,of the Social Security Act,as amended. Also,
        861                       HIA              include claims by hospitals,skilled nursing facilities, etc.,for certification as providers of services under the program.
                                                  (42 U.S.C. 1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Titie 4, Part B,of the Federal Coal Mine Health and Safety Ad of 1969.(30 U.S.C.
                                                   923)
                                                   All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act,as amended; plus
        863                       DIWC             all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405(g))

                                                   All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act,as
        863                       DIWW
                                                   amended.(42 U.S.C.405(g))

                                                   All claims for supplemental security income payments based upon disability filed under Title 16 ofthe Social Security Act, as
        864                       SSID
                                                   amended.

       865                        RSI              All claims for retirement(old age)and survivors benefits under Title 2 of the Social Security Act,as amended.
                                                  (42 U.S.C.405(g))




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